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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 RED LION MEDICAL SAFETY, INC. et                  §
 al.,                                              §
                                                   §   CIVIL ACTION NO. 2:15-CV-00308-RWS
                  Plaintiffs,                      §
                                                   §
 v.                                                §                     SEALED
                                                   §
 GENERAL ELECTRIC COMPANY, et al.,                 §
                                                   §
                  Defendants.                      §
                                                   §
                                                   §

                            MEMORANDUM OPINION AND ORDER
      Before the Court are the parties’ post-trial motions. Having considered the argument at the

 October 10, 2017 hearing and the parties’ written submissions, and for the reasons detailed below,

 the Court rules as follows:

         Defendants General Electric Company, GE Healthcare, GE Technology Infrastructure, and

          Datex-Ohmeda’s (collectively “GE”) Renewed Motion for Judgment as a Matter of Law

          Regarding Market Definition, Monopoly Power, Parts and Training Policies (Docket No.

          192) is DENIED;

         GE’s Renewed Motion for Judgment as a Matter of Law for Lack of Injury or Damages

          (Docket No. 193) is DENIED;

         GE’s Renewed Motion for Judgment as a Matter of Law as to Allegations Concerning

          Software Updates and Disparagement Theories (Docket No. 194) is GRANTED;

         GE’s Renewed Motion for Judgment as a Matter of Law as to Plaintiffs POPN, Palo Verde,

          and SAS Acquisitions (Docket No. 195) is DENIED-IN-PART and GRANTED-IN-

          PART;
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       GE’s Motion in the Alternative for a New Trial on All Issues (Docket No. 196) is

        DENIED-IN-PART and GRANTED-IN-PART; and

       Plaintiffs Anesthesia Services, Inc., Bay State Anesthesia, Inc., Biomedical Concepts,

        Diversified Anesthesia, LLC, Gasmedix, LLC, Heartland Medical Sales & Services, LLC,

        Metropolitan Medical Services of NC, Inc., POPN, Inc. successor in interest to Penn

        Biomedical Support, Inc., Palo Verde Medical Consultants, LLC, Paragon Service, Red

        Lion Medical Safety, Inc., Universal Medical Services, Inc., West Coast Anesthesia

        Specialists, Inc.’s (collectively, “Plaintiffs”) Post-Trial Motion for Injunction, Attorneys’

        Fees, and Entry of Judgment Upon the Jury’s Verdict (Docket No. 190) is DENIED-AS-

        MOOT.

                                         BACKGROUND

        Plaintiffs Red Lion Medical Safety, Inc. (“Red Lion”); Universal Medical Services, Inc.

 (“Universal”); Metropolitan Medical Services of NC, Inc. (“Metropolitan”); Biomedical Concepts;

 Anesthesia Services, Inc. (“ASI”); Diversified Anesthesia, LLC (“Diversified”); Paragon Service

 (“Paragon”); Bay State Anesthesia, Inc. (“Bay State”); POPN, Inc. (“POPN”); Gasmedix, LLC

 (“Gasmedix”); West Coast Anesthesia Specialists, Inc. (“West Coast”); Palo Verde Biomedical

 Consultants, LLC (“Palo Verde”); Medical Application Repair and Sales, LLC (“MARS”);

 Heartland Medical Sales & Services, LLC (“Heartland”); SAS Acquisitions, Inc. (“SAS

 Acquisitions”); and Trinity Biomedical Solutions, Inc. (“Trinity”) are each independent service

 organizations that provide service, maintenance and repair for GE anesthesia equipment. See

 Docket No. 141 at 4–5. Plaintiffs Metropolitan, Paragon, Heartland, Biomedical Concept, MARS

 and Gulfstream Anesthesia Service Inc. (d/b/a Doctors Depot) (“Doctors Depot”) are also in the

 business of reconditioning, refurbishing and selling refurbished GE anesthesia machines. Id. at 5.




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        Plaintiffs filed the instant lawsuit on March 3, 2015, alleging that Defendants General

 Electric Company, Inc., GE Healthcare, GE Technology Infrastructure, Datex-Ohmeda, and Alpha

 Source, Inc. engaged in anticompetitive behavior in violation of the antitrust laws. Particularly,

 Plaintiffs’ complaint accused GE of violating § 2 of the Sherman Act with respect to GE’s “parts

 policy,” “training policy,” marketing communications, and software notifications and update

 policies. See Docket No. 141 at 4–6; Docket No. 164. Trial in this matter was held from April

 18, 2017 to April 26, 2017, and the jury returned a verdict that the complained of policies violated

 § 2 of the Sherman Act. Docket No. 164. The jury awarded the Plaintiffs a total of $43,803,344.00

 in damages for GE’s antitrust violations. Id. at 21–32. The parties have filed post-trial motions,

 which the Court discusses below.

                                       LEGAL STANDARD

        Judgment as a matter of law is appropriate if “the court finds that a reasonable jury would

 not have a legally sufficient evidentiary basis to find for [a] party” on an issue. Fed. R. Civ. P.

 50(a)(1); see also EMJ Corp. v. Hudson Specialty Ins. Co., 833 F.3d 544, 547 (5th Cir. 2016);

 Weiser-Brown Operating Co. v. St. Paul Surplus Lines Ins. Co., 801 F.3d 512, 525 (5th Cir. 2015).

 Under Fifth Circuit law, a court is to be “especially deferential” to a jury’s verdict and must not

 reverse the jury’s findings unless they are not supported by substantial evidence. Baisden v. I’m

 Ready Prods., Inc., 693 F.3d 491, 499 (5th Cir. 2012). “Substantial evidence is defined as evidence

 of such quality and weight that reasonable and fair-minded men in the exercise of impartial

 judgment might reach different conclusions.” Threlkeld v. Total Petroleum, Inc., 211 F.3d 887,

 891 (5th Cir. 2000). The Court will “uphold a jury verdict unless the facts and inferences point so

 strongly and so overwhelmingly in favor of one party that reasonable men could not arrive at any

 verdict to the contrary.” Cousin v. Trans Union Corp., 246 F.3d 359, 366 (5th Cir. 2001); see also

 Int’l Ins. Co. v. RSR Corp., 426 F.3d 281, 296 (5th Cir. 2005). However, “[t]here must be more


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 than a mere scintilla of evidence in the record to prevent judgment as a matter of law in favor of

 the movant.” Arismendez v. Nightingale Home Health Care, Inc., 493 F.3d 602, 606 (5th Cir.

 2007) (citing Laxton v. Gap, Inc., 333 F.3d 572, 577 (5th Cir.2003)).

         In evaluating a motion for judgment as a matter of law, a court must “draw all reasonable

 inferences in the light most favorable to the verdict and cannot substitute other inferences that [the

 court] might regard as more reasonable.” E.E.O.C. v. Boh Bros. Const. Co., L.L.C., 731 F.3d 444,

 451 (5th Cir. 2013). Although the court must review the record as a whole, it must disregard all

 evidence favorable to the moving party that the jury is not required to believe. Ellis v. Weasler

 Eng’g Inc., 258 F.3d 326, 337 (5th Cir. 2001). However, a court may not make credibility

 determinations or weigh the evidence, as those are solely functions of the jury. See id (citing

 Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150–51 (2000)). The Court gives

 “credence to evidence supporting the moving party that is uncontradicted and unimpeached if that

 evidence comes from disinterested witnesses.” Arismendez, 493 F.3d at 606.

         Federal Rule of Civil Procedure 59(a) provides that a new trial may be granted to all or any

 of the parties and on all or part of the issues in an action in which there has been a trial by jury, for

 “any reason for which a new trial has heretofore been granted in an action at law in federal court.”

 Fed. R. Civ. P. 59(a). The court can grant a new trial “based on its appraisal of the fairness of the

 trial and the reliability of the jury’s verdict.” Smith v. Transworld Drilling Co., 773 F.2d 610,

 612–13 (5th Cir. 1985). “Courts grant a new trial when it is reasonably clear that prejudicial error

 has crept into the record or that substantial justice has not been done, and the burden of showing

 harmful error rests on the party seeking the new trial.” Sibley v. Lemaire, 184 F.3d 481, 487 (5th

 Cir. 1999) (quoting Del Rio Distributing, Inc. v. Adolph Coors Co., 589 F.2d 176, 179 n. 3 (5th

 Cir. 1979)). “A new trial may be granted, for example, if the district court finds the verdict is




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 against the weight of the evidence, the damages awarded are excessive, the trial was unfair, or

 prejudicial error was committed in its course.” Smith, 773 F.2d at 612–13. The decision to grant

 or deny a new trial is committed to the sound discretion of the district court. See Allied Chem.

 Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980).

         A. GE’s Renewed Motion for Judgment as a Matter of Law Regarding Market
            Definition, Monopoly Power, Parts and Training Policies (Docket No. 192)

        In its first post-trial motion, GE moves for judgment as a matter of law because (1)

 Plaintiffs’ national market for servicing GE anesthesia machines fails as a matter of law; (2)

 Plaintiffs failed to prove their alleged product market for servicing anesthesia machines; (3) GE

 does not have monopoly power in a national market for servicing GE machines; (4) Plaintiffs failed

 to introduce any evidence to support product markets consisting of the servicing exclusively of GE

 machines; (5) GE’s parts policies are not anticompetitive; (6) GE’s training policies are not

 anticompetitive; (7) GE’s parts and training policies did not injure competition; and (8) Plaintiffs’

 monopoly leveraging and essential facilities theories are not cognizable. The Court addresses each

 of GE’s arguments in turn.

        (1) Lack of National Market for Service

        GE first argues that it is entitled to judgment as a matter of law on Plaintiffs’ servicing

 claims because Plaintiffs failed to meet their burden to prove that GE possessed market power in

 a properly defined relevant market. Docket No. 192 at 4. GE claims that, while Plaintiffs

 contended at trial that the relevant market for the servicing of GE anesthesia machines is the entire

 United States, it is undisputed that anesthesia machine customers require nearby technicians and

 that longer travel brings with it increased costs and delay. Id. at 5 (citing Docket No. 177, 4/21

 (PM) Tr. at 121:13–122:10 (“[O]ur service base is we try to keep it a four-hour drive from our

 location. Actually about three-and-a-half hour perimeter so that we can do emergency service. . . .



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 It’s because of the quality. If we get a phone call and we can’t respond quickly and service that

 piece of equipment, it’s not the cost. It’s the time and the response time.”) (Paragon)). GE argues

 that Plaintiffs compete in distinct geographic regions and suggests that the competitive dynamics

 in each region across the country feature different independent service organizations (“ISOs”) and

 asset management companies in competition with GE. Id. GE also points to the fact that Plaintiffs’

 expert opined that GE’s prices differ among different geographic areas based on the number of

 competitors in that region and that there was more ISO competition in certain areas than in others.

 Id.

         Additionally, GE analogizes the market in this case to that in It’s My Party, Inc. v. Live

 Nation, Inc., 811 F.3d 676, 682 (4th Cir. 2016), in which the Fourth Circuit rejected a nationwide

 market for music-concert promotion, finding that concert promoters operated in specific locations

 and would not typically travel outside of their region to attend a show. Id. at 6–7. According to

 GE, a hospital faces more geographic limitations than a concertgoer and Plaintiffs introduced no

 evidence to suggest that each hospital enjoys the same servicing options, regardless of location.

 Id. at 7.

         In response, Plaintiffs argue that the geographic market evidence presented at trial fully

 supports the jury’s finding of a nationwide market for GE anesthesia servicing. Docket No. 209

 at 1. According to Plaintiffs, GE—along with asset managers and numerous ISOs—all service a

 national market. Id. at 2 (citing Docket No. 170, 4/18 (PM) Tr. at 84:19–24 (Metropolitan); Docket

 No. 176, 4/21 (AM) Tr. at 107:6–12 (Heartland); Docket No. 177, 4/21 (PM) Tr. at 59:18–61:5

 (Diversified); Docket No. 175, 4/20 (PM) Tr. at 150:6–10 (GE) (testifying that GE and asset

 managers provide national service); Docket No. 175, 4/20 (PM) Tr. at 104:10–19 (GE)).




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        In response to GE’s argument that GE anesthesia-machine service customers demand

 timely service and can only turn to local providers, Plaintiffs claim that the trial record and

 commercial realities of the industry suggest otherwise. Id. at 2–3. Plaintiffs argue that substantial

 evidence supports the jury’s finding that customers both can and do turn to providers nationwide

 for timely service, at least because Plaintiffs and GE are able to provide service far from their

 home offices by stationing technicians around the country with minimal cost. Id. at 3. Plaintiffs

 also respond that the existence of non-national players does not preclude a finding of a national

 market. Id. (citing United States v. Grinnell Corp., 384 U.S. 563, 575–76 (1966); FTC v. H.J.

 Heinz Co., 246 F.3d 708, 716 n.10 (D.C. Cir. 2001)).

        Additionally, Plaintiffs draw factual distinctions between this case and It’s My Party, Inc.

 v. Live Nation, Inc., contending that, unlike the concert promotion market, the commercial realities

 of the anesthesia-service market do not require targeting of specific local areas. Id. at 4 (citing

 811 F.3d 676).

        In its reply, GE contends that courts frequently reject arguments that a geographic market

 is defined by the area in which competitors sell, rather than the area in which the purchaser can

 practically turn for the product or service. Docket No. 218 at 1 (citing Surgical Care Ctr. of

 Hammond, L.C. v. Hosp. Serv. Dist. No. 1 of Tangipahoa Par., 309 F.3d 836, 839 (5th Cir. 2002);

 Lantec, Inc. v. Novell, Inc., 306 F.3d 1003, 1027 (10th Cir. 2002); Minnesota Ass’n of Nurse

 Anesthetists v. Unity Hosp., 208 F.3d 655, 662 (8th Cir. 2000); Tunis Bros. Co. v. Ford Motor Co.,

 952 F.2d 715, 726 (3rd Cir. 1991)). GE contends that the different prices charged in different

 regions is a hallmark of regional geographic markets and that no reasonable jury could have found

 Plaintiffs met their burden to prove a national market. Id. at 2.




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        In their surrreply, Plaintiffs respond that the appropriate standard for assessing a

 geographic market is found in Apani Sw., Inc. v. Coca-Cola Enters., 300 F.3d 620, 626 (5th Cir.

 2002), and involves reviewing the area in which the seller operates. Docket No. 225 at 1. But

 even under GE’s formulation, Plaintiffs suggest that there was substantial evidence at trial that

 hospitals can and do in fact turn to servicers located across the country. Id. at 1–2.

        Under Fifth Circuit law, the Court focuses on the area of “effective competition” in

 determining the relevant geographic market. Apani, 300 F.3d at 626 (citing Jim Walter Corp. v.

 F.T.C., 625 F.2d 676, 682 (5th Cir.1980)). The area of effective competition in the known line of

 commerce must be charted by careful selection of the market area in which the seller operates and

 to which buyers can practicably turn for supplies. Id. (citing Tampa Elec. Co. v. Nashville Coal

 Co., 365 U.S. 320, 327 (1961)). When determining whether a geographic market corresponds to

 commercial realities, courts have taken into account practical considerations such as the size,

 cumbersomeness, and other characteristics of the relevant product. Id. In addition, determinants

 that affect the behavior of market participants may also be considered, such as regulatory

 constraints impeding the free flow of competing goods into the area, perishability of products, and

 transportation barriers. Id. (citing Earl W. Kintner, Federal Antitrust Law: Volume IV The Clayton

 Act Section 3; Section 7; Mergers And Markets § 38.3 (1984); United States v. Conn. Nat'l Bank,

 418 U.S. 656, 669–671 (1974); and United States v. Gen. Dynamics Corp., 341 F.Supp. 534

 (N.D.Ill.1972)). Whether a relevant market has been identified is usually a question of fact. Apani,

 300 F.3d at 628.

        Substantial evidence supports the jury’s finding that the area of effective competition for

 GE anesthesia-machine service is nationwide. ISOs and GE operate across the country. For

 example, Jeffrey Rhinehart, president and CEO of Metropolitan, testified that he works across the




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 country. Docket No. 170, 4/18 (PM) Tr. at 84:19–24. Likewise, Matthew Rolo of Diversified

 testified that his business operates nationwide and, in the weeks before trial, serviced machines in

 Georgia, Kentucky, Florida, Virginia, Indiana, Wisconsin, and Texas. Docket No. 177, 4/21 PM

 Tr. at 59:18–61:5. He also testified that, even as an ISO based in Kentucky, he received a service

 call for Oklahoma in the middle of trial. Id. at 60:15–20. GE stated at trial that it competes all

 over the country as well. 4/20 (PM) Tr. at 104:10–19. The record is replete with testimony that

 customers solicit service across the country and ISOs operate to meet that need. See, e.g., Docket

 No. 176, 4/21 (AM) Tr. at 107:6–12 (Heartland); Docket No. 170, 4/18 (PM) Tr. at 85:4–5

 (Metropolitan); Docket No. 171, 4/19 (AM) Tr. at 51:1–10 (Biomedical Concepts); Docket No.

 175, 4/20 (PM) Tr. at 32:22–33:9 (Universal Medical); Docket No. 179, 4/24 (PM) Tr. at 64:6–12

 (House); Docket No. 177, 4/21 (PM) Tr. at 117:14–20 (Paragon)). Accordingly, substantial

 evidence supports the jury’s finding at trial that the market for GE anesthesia-machine service is

 nationwide, as customers turn to a national market when seeking service, and both the ISOs and

 GE are able to provide those services nationwide.    Accordingly, GE’s motion for judgment as a

 matter of law on this basis is DENIED.

        (2) Failure to Prove Product Market for Servicing Machines

        GE also moves for judgment as a matter of law that in-house technicians are part of the

 product market. Docket No. 192 at 8. Particularly, GE notes that servicing prices are constrained

 by the threat that customers can choose to service machines in-house and that some hospital

 networks have begun to market their ability to service machines to other hospitals. Id. According

 to GE, the facts at trial overwhelmingly showed that in-house technicians are reasonably

 interchangeable with GE and Plaintiffs’ technicians, and no reasonable jury could have excluded

 in-house technicians from the product market. Id. at 9.




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        Plaintiffs respond that products are part of the same relevant market if consumers view the

 products as substitutes and that product interchangeability may be measured by how buyers would

 respond to a monopolist’s imposition of a small but significant non-transitory increase in price.

 Docket No. 209 at 5. According to Plaintiffs, the only evidence of the consumer’s perspective on

 the interchangeability of GE, asset manager and ISO technicians with in-house technicians came

 from Plaintiffs’ expert Charles McMaster, a hospital sourcing manager with over 25 years of

 experience overseeing the retention of anesthesia-machine servicers. Id. Plaintiffs point to

 McMaster’s testimony that a hospital’s ability to provide service in-house does not act as a price

 constraint on servicing provided by outside vendors and that, if the price of an anesthesia-servicing

 contract went up by ten percent, a hospital would not be moved to vertically integrate that contract.

 Id. at 5–6 (citing Docket No. 177, 4/21 (PM) Tr. at 157:8–11(McMaster)). Plaintiffs suggest that

 McMaster’s opinion is at least substantial evidence supporting the jury’s finding. Id. at 6.

        In addition, however, Plaintiffs point to the testimony of their expert, Dr. Donald House.

 Id. Dr. House opined that hospitals who move their business in-house are exiting the market and

 that there was no evidence that their exits constrained pricing. Docket No. 178, 4/24 (AM) Tr. at

 44:6–47:2 (House); Docket No. 179, 4/24 (PM) Tr. at 58:16–60:6 (House). Plaintiffs also cite to

 the testimony of GE’s expert, Dr. Craig Schulman, who testified he could not identify a single

 instance when GE lowered its prices in response to the threat of competition from in-house

 servicing. Docket No. 209 at 6 (citing Docket No. 181, 4/25 (PM) Tr. at 61:1–24 (Schulman)).

        In its reply, GE argues that Plaintiffs introduced no evidence of the cross-elasticity of

 demand to substantiate their claim that in-house biomeds do not compete and that Plaintiffs’

 evidence of the lack of interchangeability of in-house biomeds is insubstantial. Docket No. 218 at

 3. GE dismisses Mr. McMaster’s opinion as baseless speculation insufficient to withstand its




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 motion for judgment as a matter of law. Id. at 3 n.5. GE also discounts Dr. House’s testimony

 that he doesn’t “see” in-house biomeds enter the market when prices are high because GE servicing

 prices did not increase over the relevant time period. Id. GE further reprises its argument that it

 lacks monopoly power when in-house biomeds are excluded. Id. at 3.

        In response, Plaintiffs argue that they presented “uncontroverted customer-perspective

 evidence that the ability of a hospital to service its own GE anesthesia machine does not act as a

 price constraint on external servicers such as GE and Plaintiffs.” Docket No. 225 at 2. Plaintiffs

 also rebuff GE’s attack on Mr. McMaster, noting that GE did not contest McMaster’s expertise or

 attack his testimony on cross. Id. at 2–3. Plaintiffs further note that GE did not present any

 customer-perspective evidence that contradicted his testimony. Id.

        In defining the relevant product market, courts consider the extent to which the seller’s

 product is “interchangeable in use” and the degree of “cross-elasticity of demand between the

 product itself and substitutes for it.” Apani, 300 F.3d at 626 (citing C.E. Servs., Inc. v. Control

 Data Corp., 759 F.2d 1241, 1245 (5th Cir. 1985)); see also United States v. E.I. du Pont de

 Nemours & Co., 351 U.S. 377, 395 (1956). Within the product market, submarkets may exist,

 which, in themselves, represent product markets for antitrust purposes. Apani, 300 F.3d 626. The

 boundaries of a product market can be determined by evaluating practical indicia as industry or

 public recognition of the submarket as a separate economic entity, the product’s peculiar

 characteristics and uses, unique production facilities, distinct customers, distinct prices, sensitivity

 to price changes, and specialized vendors. Id. (citing Brown Shoe Co., 370 U.S. 294, 325 (1962)).

        A reasonable jury could have found that in-house technicians were not a part of the product

 market based on the evidence presented at trial. There was sufficient evidence for a reasonable

 jury to determine that the products were not substitutes when evaluating the cross-elasticity of




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 demand between in-house service and service from GE, the ISOs, and asset managers, For

 example, Plaintiffs’ expert, Mr. McMaster, opined at trial that a hospital’s ability to provide service

 in-house would not act as a price constraint on servicing provided by outside vendors. Docket No.

 177, 4/21 (PM) Tr. at 157:8–11 (McMaster). This expert opinion was confirmed by the testimony

 of Dr. Schulman, who noted that he could not identify a single instance in which GE lowered prices

 in response to the threat of competition from in-house service. Docket No. 181, 4/25 (PM) Tr. at

 61:1–24 (Schulman)). McMaster also testified that a ten percent increase in price of an anesthesia

 servicing contract would not be sufficient for a hospital to vertically integrate that contract,

 suggesting that in-house technician service is not interchangeable with ISO, GE, or asset-manager

 service. Id. at 5–6 (citing Docket No. 177, 4/21 (PM) Tr. at 157:8–11 (McMaster)). McMaster

 further testified that in-house solutions are not interchangeable with external service vendors

 because of the cost and investment incidental to vertical integration. Docket No. 177, 4/21 (PM)

 Tr. at 157:12–24 (McMaster). Relatedly, Dr. House testified that vertical integration required

 considerable investment and that in-house biomeds were exiting the market. Docket No. 178, 4/24

 (AM) Tr. at 44:6–47:2 (House); Docket No. 179, 4/24 (PM) Tr. at 58:16–60:6 (House) (“But the

 question is, after that hospital has the in-house biomed, does that biomed enter that market and

 provide services when prices are high? And that is the interaction that we don’t see.”). A

 reasonable jury could determine from this evidence that in-house technicians were not part of the

 product market.

        GE’s arguments to the contrary are not persuasive. GE identifies statements by several

 Plaintiffs suggesting that, if a hospital could perform service for cheaper than an ISO, the hospital

 may keep that work in house. See, e.g., Docket No. 171, 4/19 (AM) Tr. at 131:14–22 (“Q: For

 that particular hospital, you’re competing potentially against the in-house folks for the contract,




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 right? A. Yes. Q. If you do it better and cheaper, the hospital’s probably going to hire you. If the

 hospital thinks that their in-house people do it better and cheaper, they’re probably not going to

 hire you. They’re going to go with their in-house people. Right? A. Yes.”); see also Docket No.

 176, 4/21 (AM) Tr. at 102:15–23 (“Q. That makes sense to you, right, based on your understanding

 of the market? A. That an in-house biomed could take their service in-house? Q. Yes. A. Yes. Q.

 And if you don’t provide -- whether it’s based on price or service or whatever, if you don’t provide

 an adequate alternative, others, they can just bring it in-house? A. Sure.”). The evidence in the

 record that certain ISOs believed themselves to compete with in-house technicians does not “point

 so strongly and overwhelmingly in . . . favor [of GE’s market definition] that reasonable jurors

 could not reach a contrary conclusion.” Baisden, 693 F.3d at 498. Accordingly, substantial

 evidence supports the jury’s finding of a product market exclusive of in-house technicians, and

 GE’s motion for judgment as a matter of law on this basis is DENIED.

        (3) Lack of Monopoly Power in National Market for Service

        Next, GE moves for judgment as a matter of law that it did not have monopoly power in

 the national service market because Plaintiffs failed to introduce any direct evidence of monopoly

 power and failed to show GE’s market power through indirect means. Docket No. 192 at 9. GE

 argues that inclusion of in-house technicians in the product market would drop GE’s market share

 to below 50 percent, which is insufficient to support market power. Id. at 9–10. According to GE,

 Plaintiffs failed to present sufficient evidence of GE’s ability to control prices or exclude

 competition, particularly in light of an absence of evidence of restricted output in either market.

 Id. at 10. GE further suggests that Plaintiffs provided no evidence to rebut the significance of GE’s

 declining market share. Id. at 10–11. GE maintains that it did not control the market for parts or

 training because Plaintiffs could obtain parts from other providers and because Plaintiffs could

 receive training from DeVry and the U.S. military. Id. at 11.


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        Plaintiffs respond that they provided ample proof—through direct and indirect means—

 that GE possesses monopoly power in the market for GE anesthesia-machine service. Docket No.

 209 at 7. According to Plaintiffs, direct proof is evidence of the ability to control prices or exclude

 competition, and GE controlled two essential inputs for GE anesthesia-machine service—GE parts

 and training. Id. at 8 (citing Rio Grande Royalty Co. v. Energy Transfer Partners, L.P., 786 F.

 Supp. 2d 1190, 1197 (S.D. Tex. 2009)). Plaintiffs also argue that they presented proof that GE

 possessed monopoly power via indirect means, particularly by introducing evidence that GE

 controlled 70 percent of the product market. Id. at 10 (citing Docket No. 178, 4/24 (AM) Tr. at

 40:21–25 (House)).

        To the extent GE’s argument about monopoly power relies on the inclusion of in-house

 technicians in the product market, the Court rejects it for the reasons detailed above. See supra

 Section A.(2).

        There is also ample evidence in the record from which a reasonable jury could determine

 that GE had market power. And evidence in the record suggests that GE had control over two

 essential inputs—parts and training. First, the record contains substantial evidence that GE is the

 only source for GE parts and that alternative sources for parts were unreliable and insufficient to

 provide service.     See Docket No. 170, 4/18 (PM) Tr. at 114:25–115:15, 120:20–121:3

 (Metropolitan); Docket No. 171, 4/19 (AM) Tr. at 136:15–23; Id. at 140:16–19 (West Coast);

 Docket No. 172, 4/19 (PM) Tr. at 50:12–51:9, 61:13–18 (Doctors Depot); Docket No. 174, 4/20

 (AM) Tr. at 15:3–5, 17:5–10 (GE); PX-699; Docket No. 175, 4/20 (PM) Tr. at 88:14–19 (GE) (“Q.

 And you agree that having access to GE anesthesia parts is essential to providing servicing for GE

 anesthesia machines, right? A. I do.”); Id. at 17:5–10 (GE); Docket No. 176, 4/21 (AM) Tr. at

 83:14–19 (Heartland); Docket No. 178, 4/24 (AM) Tr. at 34:18–37:10, 36:9–22 (House); Docket




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 No. 180, 4/25 (AM) Tr. at 156:22–25 (GE) (testifying that 80 percent of GE anesthesia machine

 parts are proprietary and must be purchased from GE).

        Second, the record contains substantial evidence that training was necessary for

 competition in the market. See Docket No. 170, 4/18 (PM) Tr. at 107:25–108:22, 112:3–12, 16–

 23, 113:2–14 (Metropolitan); Docket No. 171, 4/19 (AM) Tr. at 26:19–27:7 (Metropolitan);

 Docket No. 172, 4/19 (PM) Tr. at 43:16–44:6, 46:8–13 (Doctors Depot); Id. at 84:22–85:1, 102:1–

 103:4, 110:5–16, 113:18–22 (MARS); Docket No. 174, 4/20 (AM) Tr. at 92:8–25 (Bay State);

 Docket No. 175, 4/20 (PM) Tr. at 10:3–8 (Palo Verde); Id. at 40:25–41:4 (Universal Medical);

 Docket No. 176, 4/21 (AM) Tr. at 115:8–18, 115:23–116:3, 119:18–120:1, 132:7–17 (Trinity);

 Docket No. 177, 4/21 (PM) Tr. at 8:24–9:6 (GasMedix); Id. at 62:7–17 (Diversified); Id. at 94:5–

 19 (Paragon); Id. at 153:23–154:2, 162:5–11 (McMaster).

        Relatedly, Plaintiffs presented sufficient evidence at trial that GE directly controlled access

 to training and that GE was the only source for training. See, e.g., Docket No. 177, 4/21 (PM) Tr.

 at 62:15–17 (Diversified) (“Q. And with regard to GE anesthesia machine training, who provides

 that training? A. Only GE.”); Docket No. 172, 4/19 (PM) Tr. at 54:15–19 (Doctors Depot); Docket

 No. 176, 4/21 (AM) Tr. at 76:15–22 (Heartland).

        Plaintiffs also introduced substantial evidence that training from DeVry Institute or the

 military were unacceptable substitutes for GE training. See e.g., Docket No. 176, 4/21 (AM) Tr.

 at 116:7–22 (Trinity); Docket No. 175, 4/20 (PM) Tr. at 41:5–12 (Universal); Id. at 79:22–81:1

 (GE); Docket No. 170, 4/18 (PM) Tr. at 100:8–101:8 (Metropolitan); Docket No. 180, 4/25 (AM)

 Tr. at 73:1–7, 76:17–25, 80:4–7 (GE).




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        Accordingly, substantial evidence supports the jury’s finding that GE maintained market

 power in the relevant product market and GE’s motion for judgment as a matter of law on this

 basis is DENIED.

        (4) Lack of Evidence to Support Product Markets Consisting of the Servicing of Only GE
            Machines

        Next, GE argues that Plaintiffs failed to introduce evidence as to why the servicing market

 should be limited to the service of GE anesthesia machines and exclude the service of machines

 produced by other manufacturers. Docket No. 192 at 12. According to GE, Plaintiffs claimed at

 trial that hospitals want a “one stop shop” for their servicing needs and, because of this, Plaintiffs

 service Drager and Mindray machines in addition to GE machines. Id. (citing Docket No. 171,

 4/19 (AM) Tr. at 81:14–19, 52:19–53:4).

        Plaintiffs respond that they introduced evidence that technicians can only work on GE

 anesthesia machines if they use GE parts and have been GE-trained. Docket No. 209 at 11. A

 technician trained on Drager machine cannot substitute, Plaintiffs suggest, for a technician

 qualified to work on GE machines. Id. According to Plaintiffs, the proper market definition for

 GE anesthesia-machine service necessarily excludes technicians who are only capable of servicing

 non-GE brands. Id. (citing Eastman Kodak Co. v. Image Tech. Servs., 504 U.S. 451, 482 (1992)

 (“Because service and parts for Kodak equipment are not interchangeable with other

 manufacturers’ service and parts, the relevant market from the Kodak equipment owner’s

 perspective is composed of only those companies that service Kodak machines.”)). Plaintiffs also

 point to Dr. House’s opinion that the cost of switching anesthesia machines is high and consumers

 will tolerate some level of price increase before changing equipment brands. Id. at 11–12.

        There is substantial evidence in the record supporting a product market consisting only of

 anesthesia-machine service for GE machines. Evidence in the record suggests that only GE-



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 trained technicians can service GE machines and that Mindray or Drager machine training would

 not be insufficient.    See, e.g., Docket No. 170, 4/18 (PM) Tr. at 142:4–5 (Metropolitan) (“Is

 Dräger a competitor for GE service? A. Not that I know of.”); Docket No. 175, 4/20 (PM) Tr. at

 121:22–122:24 (GE) (explaining that GE believes in-house and asset managers to be GE’s biggest

 competitors for service); Docket No. 171, 4/19 (AM) Tr. at 26:19–27:7 (Metropolitan); Docket

 No. 172, 4/18 (PM) Tr. at 107:25–108:22, 112:3–12, 16–23, 113:2–14, 120:20–121:3

 (Metropolitan); Id. at 43:16–44:6, 46:8–13 (Doctors Depot); Id. at 84:22–85:1, 102:1–103:4,

 110:5– 10, 113:18–22 (MARS); Docket No. 174, 4/20 (AM) Tr. at 92:8–25 (Bay State); Docket

 No. 175, 4/20 (PM) Tr. at 10:3–8 (Palo Verde); Id. at 40:25–41:4 (Universal); Docket No. 176,

 4/21 (AM) Tr. at 115:8–18, 115:23–116:3, 132:7–17 (Trinity); Docket No. 177, 4/21 (PM) Tr. at

 62:7–17 (Diversified); Id. at 94:5–19 (Paragon); Id. at 153:23–154:2, 162:5–11 (McMaster);

 Docket No. 178, 4/24 (AM) Tr. at 34:18–37:10 (House). From the evidence in the record, a

 reasonable jury could determine that the relevant product market was limited to service for GE

 machines. Accordingly, GE’s motion for judgment as a matter of law on this basis is DENIED.

        (5) GE’s Parts Policy is Not Anticompetitive

        GE also moves for judgment as a matter of law that its parts policy is not anticompetitive

 conduct. GE contends that it had no duty to sell parts directly to plaintiffs because “even if GE

 had an antitrust obligation to make its parts available to its competitors, it has no duty to sell them

 directly to those competitors.” Docket No. 192 at 13. GE argues that it could have lawfully raised

 its prices without its distributor appointment and that its choice to rely on Alpha Source does not

 violate the antitrust laws. Id. at 13–14. GE also argues that judgment must be entered in GE’s

 favor because no court has ever extended Aspen Skiing to prohibit the appointment of a distributor

 and because it has no duty to aid its competitors. Id. at 14–15.




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        Relatedly, GE maintains that no reasonable jury could have found GE’s parts policies

 anticompetitive under any theory because Plaintiffs have access to parts through Alpha Source and

 because Plaintiffs failed to introduce any economic evidence that the prices Alpha Source charged

 were a de facto refusal to deal. Id. at 15–16. GE also contends that its appointment of Alpha

 Source did not sacrifice short-term profits and that no reasonable jury could have found that GE

 lacked a legitimate business reason for appointing a distributor. Id. at 16–17. According to GE,

 its Alpha Source appointment was made to mitigate the burdens on GE caused by the ISOs abusing

 GE’s warehousing and logistics services and to lessen the expenses associated with the provision

 of customer service. Id. at 17–18 (citing Docket No. 175, 4/20 (PM) Tr. at 119:2–21; Docket No.

 180, 4/25 (AM) Tr. at 122:9–127:13; DX029).

        Plaintiffs respond that GE improperly recasts each piece of its scheme as procompetitive

 in isolation and that GE’s conduct must be viewed as a whole. Docket No. 209 at 12 (citing

 Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962); New York ex

 rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 653, 654 (2d Cir. 2015)). Even when viewed in

 isolation, however, Plaintiffs contend that each facet of GE’s conduct is anticompetitive. Id.

 Plaintiffs argue that the evidence at trial showed that timely access to GE parts is essential to

 compete, that GE has monopoly power in the parts market and that GE refused to sell parts to

 Plaintiffs, denying them access to inputs essential to compete and leveraging its monopoly over

 parts into a monopoly over anesthesia-machine service and sales markets. Id. at 13.

        According to Plaintiffs, they introduced substantial evidence that GE’s appointment of

 Alpha Source was a scheme to stifle a competitive threat to GE’s competitive position. Id. at 13.

 Plaintiffs argue that GE testimony and documents demonstrate that, prior to 2011, ISOs like the

 Plaintiffs were achieving double-digit growth and that GE’s appointment of a parts distributor to




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 supply its competitors was in response to this threat, not any business justification. Id. (citing

 Docket No. 174, 4/20 (AM) Tr. at 20:1–10, 26:4–7, 47:17–21, 48:1–4, 49:5–7, 53:13–22, 53:25–

 54:22, 56:2–57:15 (GE); Docket No. 180, 4/25 (AM) Tr. at 158:25–160:15, 161:3– 22, 162:16–24

 (GE).) Plaintiffs identify a GE document, which states that the Alpha Source appointment would

 “dis(enable)” competitors by slowing down competitor fulfillment capability and adding costs to

 them, with the end result being customers returning to GE. Id. at 14 (citing PX-224; Docket No.

 174, 4/20 (AM) Tr. at 49:5–50:3, 166:17–167:10 (GE)). Plaintiffs also identify an email sent

 between GE executives discussing the Alpha Source appointment in late 2010 that stated that as

 ISO “costs rise and their delivery slow[s], we expect end user customers to choose GE.” Id. (citing

 DX-51). Plaintiffs further point to the testimony from a GE executive that the parts policy rendered

 GE’s competitors slower and more costly. Id. at (citing Docket No. 174, 4/20 (AM) Tr. at 44:6–

 45:17 (GE)). Plaintiffs maintain that, based on this evidence, the jury was correct in finding GE’s

 parts policy to be anticompetitive.

         In response to GE’s argument that a reasonable jury could not have found GE’s parts policy

 constituted an illegal refusal to deal because Plaintiffs retained access to parts, Plaintiffs argue that

 timely access to parts is necessary to compete for GE anesthesia-machine service and machine

 sales. Id. Plaintiffs further note that they presented evidence that Alpha Source’s exclusive

 distributorship was expected to and did cause delay in the sales of parts to ISOs. Id. at 14–15

 (citing PX-278; PX-690; PX-224; Docket No. 174, 4/20 (AM) Tr. at 31:25–32:4, 44:6–45:17 (GE);

 Docket No. 178, 4/24 (AM) Tr. at 65:18–66:6 (House)). Relatedly, Plaintiffs suggest that a refusal

 to deal need not be total to violate the antitrust laws. Id. at 15 (citing SmithKline Beecham Corp.

 v. Abbott Labs., 2014 U.S. Dist. LEXIS 164367, at *13–14 (N.D. Cal. Nov. 24, 2014)).




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        Plaintiffs respond to GE’s argument that it did not sacrifice profits by arguing that profit

 sacrifice is not required to show a refusal to deal. Id. at 16 (citing Del. & Hudson Ry. Co. v.

 Consolidated Rail Corp., 902 F.2d 174, 178 (1990)). Even still, however, Plaintiffs suggest that

 GE did sacrifice profits in pursuing its parts policy: Plaintiffs point to GE’s documents which state

 that the reduced profits from the parts policy were “as hoped for the most part–flat with decline.”

 Id. (citing PX-515; Docket No. 180, 4/25 (AM) Tr. at 166:6–16 (GE)). Plaintiffs also contend that

 GE’s decision to sell Alpha Source parts at a one percent discount off list price when Alpha Source

 was marking up parts by 24 percent demonstrates a profit sacrifice. Id. at 16–17.

        Finally, Plaintiffs contend that GE’s parts policy had no business justification. Id. at 17.

 Plaintiffs argue that they demonstrated that the actual driving force behind the creation and

 implementation of the parts policy was a desire to harm competition and any post-hoc justifications

 were debunked on cross examination. Id.

        Substantial evidence supports the jury’s finding that GE’s parts policy is anticompetitive.

 Evidence was presented to the jury that GE’s appointment of Alpha Source was designed to and

 did disenable competitors by slowing down their fulfillment capabilities and increasing their costs.

 See Docket No. 174, 4/20 (AM) Tr. at 20:1–10, 26:4–7, 47:17–21, 48:1–4, 49:5–7, 53:13–22,

 53:25–54:22, 56:2–57:15 (GE); Docket No. 180, 4/25 (AM) Tr. at 158:25–160:15, 161:3–22,

 162:16–24 (GE).) PX-224; Docket No. 174, 4/20 (AM) Tr. at 49:5–50:3, 166:17–167:10 (GE).

 DX-51. Docket No. 174, 4/20 (AM) Tr. at 44:6–45:17 (GE). Substantial evidence also supports

 the jury’s finding that timely access to parts was necessary to compete for GE anesthesia-machine

 service and machine sales and that the Alpha Source exclusive distributorship was expected to and

 did cause delay in the sales of parts to ISOs. PX-278; PX-690; PX-224; Docket No. 174, 4/20

 (AM) Tr. at 31:25–32:4, 44:6–45:17 (GE); Docket No. 178, 4/24 (AM) Tr. at 65:18–66:6 (House)).




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          A reasonable jury could have also found that the Alpha Source distributorship lacked a

 legitimate business justification. Whether the defendant has a legitimate business reason for its

 refusal to deal is a determination that can be left to the jury, and the jury may evaluate the

 credibility of the justifications offered. Bell v. Dow Chem. Co., 847 F.2d 1179, 1186 (5th Cir.

 1988).

          In light of the evidence presented at trial, the jury was entitled to reject GE’s justification

 of efficiency and customer service as not credible. Indeed, evidence at trial suggested that some

 of the purported efficiencies of the system—mitigating the burden of warehousing caused by the

 ISOs abusing GE’s warehousing and logistics services and reducing the expenses associated with

 the provision of customer service—were challenged at trial. GE suggested a reduction in call

 center volume was a procompetitive justification for the parts policy but, at trial, admitted the

 policy only reduced the number of calls by 320 out of over 300,000. DX-1429; Docket No. 174,

 4/20 (AM) Tr. at 54:23–57:15 (GE). Likewise, Mr. Porter also admitted that GE’s parts policy did

 not save it any warehousing space, logistics expense, or carrying costs, which it had previously

 been passing on to customers at a 300 percent markup. Docket No. 174, 4/20 (AM) Tr. at 53:25–

 54:8 (GE); Docket No. 180, 4/25 (AM) Tr. at 159:2–7 (GE); Id. at 159:17–22; Docket No. 174,

 4/20 (AM) Tr. at 52:11–53:24 (GE); DX-1433 at 2. Additionally, GE admitted that the parts policy

 may harm customers. Docket No. 180, 4/25 (AM) Tr. at 164:12–22 (GE); Docket No. 180, 4/25

 (AM) Tr. at 40:8–16 (GE); 65 Docket No. 174, 4/20 (AM) Tr. at 29:18–22, 33:10–13, 49:5–7 (GE)

 (“Q. Can you think of any, from the hospital’s viewpoint, procompetitive thing about you raising

 prices to one of their low-cost service providers? A. No.”). In light of the record, the jury was

 entitled to reject GE’s business justification for lacking credibility.




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        Finally, as the Court has noted in the past, whether GE sacrificed short-term profits for an

 anticompetitive reason is relevant to the § 2 analysis. See Aspen Skiing Co. v. Aspen Highlands

 Skiing Corp., 472 U.S. 585, 593–594 (1985); Verizon Commc'ns Inc. v. Law Offices of Curtis V.

 Trinko, LLP, 540 U.S. 398, 409 (2004). Plaintiffs put forth sufficient evidence for a reasonable

 jury to conclude that GE sacrificed short-term profits for an anticompetitive reason at trial. For

 example, GE’s documents stated that it had “hoped for” and achieved reduced profits as a result

 of the parts policy. PX-515 (“December is not yet complete, but the trend was as hoped for the

 most part – flat with decline.”); Docket No. 180, 4/25 (AM) Tr. at 166:6–16 (GE).

        Accordingly, GE is not entitled to judgment as a matter of law that the parts policy was not

 anticompetitive, and its motion is DENIED.

        (6) GE’s Training Policies Are Not Anticompetitive

        GE also argues that its training policies do not constitute a refusal to deal as a matter of

 law. Docket No. 192 at 19. According to GE, it continued to train third parties and it has no duty

 to train its competitors. Even still, GE argues that the number of third party trainees since 2009

 has not declined despite its change in facilities in 2013 and the advent of the customer endorsement

 requirement in 2015. Id. at 20. GE maintains that ISOs, including one Plaintiff, have continued

 to attend training by GE, which GE contends is fatal to Plaintiffs’ claims. Id. at 20–21.

        According to GE, it did not sacrifice profits because GE training policies have been

 profitable for GE and the number of third-party individuals trained did not decline during the same

 period. Id. at 21 (citing See Docket No. 176, 4/21 (AM), Kurt Page, at 11:19–12:7; Docket No.

 179, 4/24 (PM), Art Larson, at 140:21–142:6, 171:11–172:11).

        GE suggests that a reasonable jury could not have found that GE lacked a legitimate

 business justification in its training policies. According to GE, it made the reasonable business

 decision to prioritize service providers used by its customers for the remaining few class slots,


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 rather than offering those slots to competitors who may or may not at some point service GE

 customers. Id. at 22 (Docket No. 178, 4/24 (AM) Tr. at 16:6–10; Docket No. 175, 4/20 (PM) Tr.

 at 109:21–110:11; Docket No. 179, 4/24 (PM) Tr. at 126:3–11, 137:25–138:12.). GE also suggests

 that any temporary unavailability of training because of a changed training class location was

 justified by legitimate business purposes as well. Id. (citing Docket No. 179, 4/24 (PM) Tr. at

 178:16–25.).

        In response, Plaintiffs argue they presented substantial evidence that GE’s training policies

 are anticompetitive under a refusal to deal, essential facilities or monopoly leveraging rubric.

 Docket No. 209 at 18. According to Plaintiffs, evidence at trial established that GE training was

 essential to compete; that GE has a monopoly over training; and that GE refused to sell training to

 Plaintiffs, denying them access to inputs essential to compete and leveraging its monopoly over

 training into a monopoly over anesthesia-service and machine sales. Id. Plaintiffs maintain that

 the lack of precedent with respect to training in particular—as opposed to a good or service—does

 not absolve GE of liability because the antitrust laws do not demand that anticompetitive conduct

 come in pre-specified forms. Id. (citing Conwood Co. v. Tobacco Co., 290 F.3d 768, 784 (6th

 Cir. 2002) (“[a]nticompetitive conduct can come in too many different forms, and is too dependent

 on context, for any court or commentator to have ever enumerated all the varieties”); LePage’s,

 Inc. v. 3M, 324 F.3d 141, 152 (3d Cir. 2003)).

        According to Plaintiffs, the evidence at trial shows that the training policy was exclusionary

 and anticompetitive. Id. at 19. Plaintiffs contend that the evidence at trial suggests GE that training

 is required to service and refurbish GE anesthesia machines; GE’s policies acted to bar ISOs,

 including Plaintiffs, from attending training classes; without the necessary training ISOs would be

 forced out of the market; and that this would harm competition. Plaintiffs also argue that they




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 presented substantial evidence that GE’s training policies precluded them from attending GE

 service training. Particularly, Plaintiffs note that GE began denying Plaintiffs access to training as

 early as 2011; that GE closed its training facility in 2013 and did not train ISOs for nearly a year;

 that GE implemented a customer endorsement policy, which made it economically unfeasible for

 ISOs to sign up for and attend training; and that the number of ISOs trained dropped precipitously

 as a result of these policies. Id. at 20–21.

        Plaintiffs also maintain that GE’s training policies sacrificed profits. Particularly, Plaintiffs

 point to the fact that GE earns a 70 percent profit margin on training sales and that numerous

 Plaintiffs applied for training and were rejected. Plaintiffs also note that GE admitted at trial that

 it was “giving up the money it could be making by training as many third parties as it . . . possibly

 could[.]” Id. at 22 (citing Docket No. 178, 4/24 (AM) Tr. at 17:11–18:5 (GE)).

        Similarly, Plaintiffs contend that GE had no legitimate business justification for restricting

 third party access to training. According to Plaintiffs, GE and its economist admitted at trial that

 GE’s policy limiting technicians to a single customer was “wrong” and did not help GE’s

 customers. Id. at 22. Plaintiffs also point out that GE tried to convince the jury that the policy’s

 exclusivity language was meaningless and that the present suit was the result of a

 misunderstanding between the parties. Id. at 22–23 (citing Docket No. 175, 4/20 (PM) Tr. at

 111:1–21 (GE); Docket No. 177, 4/21 (PM) Tr. at 30:20–32:10 (GE); Docket No. 180, 4/25 (AM)

 Tr. at 16:19–17:1, 18:5–19:22 (GE)). According to Plaintiffs, substantial evidence was presented

 at trial indicating that the customer endorsement policy was a final step in GE’s scheme to “phase-

 out” third party training. Id.at 29. Plaintiffs contrast this evidence with GE’s statement in its brief

 that the policy was meant to prioritize service providers used by its customers as opposed to

 competitors who may or may not at some point service GE customers. Id. (citing Docket No. 192




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 at 22). According to Plaintiffs, there is no credible business reason to prioritize ISOs that currently

 service GE customers, and GE did not offer one. Id. Plaintiffs also argue that limiting access to

 training could not be beneficial to consumers. Id. at 23–24.

        In its reply, GE advances its argument that the same number of third parties continued to

 access GE training after the endorsement policy was implemented. Docket No. 218 at 4–5. GE

 also contends that “intent to harm” is insufficient and that its business justification was not

 pretextual because a business reason is only pretexual when the evidence suggests it played no part

 in the decision to act. Id. at 6 (citing Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d

 1195, 1219 (9th Cir. 1997)).

        Plaintiffs respond that they have presented evidence “debunking every single one of GE’s

 proferred business justifications” and that they did not merely rely on GE’s “intent” to harm

 Plaintiffs through its policies. Docket No. 225 at 7. Instead, Plaintiffs contend that they

 demonstrated the actual effect of GE’s parts and training policies was anticompetitive. Plaintiffs

 suggest that the fact that GE’s intent comports with Plaintiffs’ evidence that the business

 justifications were pretextual is “telling.” Id. Plaintiffs also note that their evidence included (1)

 GE’s own documents, which reveal that the purpose of its policies was to “slow down,” “add cost”

 and to “phase out” its competition; (2) testimony from GE’s witnesses that its policies actually had

 the intended effect; (3) GE’s admissions that its policies actually acted to harm its customers; and

 (4) the absence of any efficiency gains as a result of GE’s policies. Id. at 8 (citing PX-278, PX-

 690, PX-789, Docket No. 209 at 14 n.50, 19 n.67, Id. at 18 n.65).

        Plaintiffs presented ample evidence at trial that GE’s training policies were

 anticompetitive. There is evidence in the record from which a reasonable jury could have

 determined that GE sacrificed short-term profits, including the fact that, in limiting ISOs’ access




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 to training, GE was foregoing selling a service on which it maintained a 70 percent margin. Docket

 No. 178, 4/24 (AM) Tr. at 17:11–18:5, 19:19–25 (GE). Indeed, even GE’s witness at trial admitted

 that GE was giving up money it could be making by training as many third parties as it possibly

 could. Id.

        While GE contends that the number of trainees has not declined since 2009, Plaintiffs

 presented evidence that the Plaintiffs’ access to training was restricted through the endorsement

 policy. Several Plaintiffs testified that the customer endorsement policy restricted their ability to

 do business. Docket No. 170, 4/18 (PM) Tr. at 85:8–16, 125:1–5 (Metropolitan); Docket No. 171,

 4/19 (AM) Tr. at 58:10–16, 59:14–23 (Biomedical Concepts); Docket No. 171, 4/19 (AM) Tr. at

 118:8–19, 129:17–130:1 (West Coast); Docket No. 172, 4/19 (PM) Tr. at 47:21–48:5 (Doctors

 Depot); Id. at 87:14–21, 115:14–116:7 (MARS); Id. at 129:24–131:14, 131:4–18 (ASI); Docket

 No. 174, 4/20 (AM) Tr. at 87:8–14, 90:2–19 (Bay State); Docket No. 175, 4/20 (PM) 42:9–15

 (Universal Medical); Id. at 169:8–17, 172:11–18 (SAS); Docket No. 176, 4/21 (AM) Tr. at 81:13–

 16 (Heartland); Id. at 59:21–60:1 (GE) (indicating that training was unavailable for a year); Id. at

 80:2–81:1, 81:20–23 (Heartland); Id. at 117:7–17 (Trinity); Id. at 104:4–10 (Paragon); Docket No.

 177, 4/21 (PM) Tr. at 24:10–12 (Gasmedix); Id. at 66:4–10 (Diversified); Id. at 95:23–97:14,

 102:23–103:6 (Paragon). Conflicting evidence at trial was presented with respect to the number

 of ISOs trained after the policy was instituted. See Docket No. 178, 4/24 (AM) Tr. at 55:5–56:8

 (stating that GE trained five ISOs in 2016), 56:25–57:11, 58:7–13 (House); Docket No. 176, 4/21

 (AM) Tr. at 11:19–12:6 (GE) (testifying that close to three dozen ISOs received training after

 filling out the endorsement form in 2016); Docket No. 179, 4/24 (PM), 140:21–142:6 (GE) (stating

 that three ISOs had been trained in 2017 at the time of trial), 171:11–172:11 (testifying that, since

 2013 “at least four ISOs … have received training”).




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        While the jury may not evaluate the “sufficiency” of GE’s proffered legitimate business

 reasons, the jury may evaluate the credibility of the justifications offered. Bell, 847 F.2d at 1186

 (“The fact determination that may be left to a jury is whether the defendant has a legitimate

 business reason for its refusal, not whether that reason is sufficient.”); Image Tech. Servs., Inc. v.

 Eastman Kodak Co., 125 F.3d 1195, 1219 (9th Cir. 1997) (“The presumption [of a valid business

 justification] . . . may be rebutted by evidence of pretext.”).

        There is substantial evidence in the record from which a reasonable jury could dismiss

 GE’s business justifications as incredible. GE contends that it made the reasonable business

 decision to prioritize service providers used by its customers for the remaining few class slots,

 rather than offering those slots to competitors who may or may not at some point service GE

 customers. See Docket No. 178, 4/24 (AM) Tr. at 16:6–10; Docket No. 175, 4/20 (PM) Tr. at

 109:21–110:11; Docket No. 179, 4/24 (PM) Tr. at 126:3–11, 137:25–138:12. GE also suggests

 that any temporary unavailability of training because of a changed training class location was

 justified by legitimate business purposes as well. Docket No. 179, 4/24 (PM) Tr. at 178:16–25.)

 But there is evidence in the record that GE’s reasoning lacked credibility, including GE’s own

 documents, which reveal that the purpose of its policies was to slow down, add cost, phase out,

 and disenable competitors; testimony from GE’s witnesses that its policies actually had the

 intended effect; GE’s admissions that its policies actually acted to harm its customers; and the

 absence of any efficiency gains as a result of GE’s policies. See, e.g., PX-278 (“(dis)enable

 competitors,” “slow down services,” “order de-prioritization,” “New Price Structure . . . List Price

 for ISPs only?”), PX-690 (“The distributor strategy would slow down the competitions fulfillment

 capabilities and add cost to them. . . . Remember, in the future, when these competitors call, we

 will tell them to go to this one distributor”), PX-789 (“Final Resolution (waiting your update);




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 Training shifted to Jupiter only; GE customers still trained; Phase out 3rd party over next year

 (2014).”). To the extent that GE argued it needed to prioritize customers over ISOs for training

 classes, Plaintiffs also presented evidence that training classes had excess capacity. See Docket

 No. 180, 4/25 (AM) Tr. at 35:17–36:19 (GE) (indicating excess capacity in training courses).

        At trial, GE itself claimed that, if the policy operated the way that ISOs believed—to

 restrict ISOs to only service one site—that “would be wrong.” See Docket No. 176, 4/21 (AM)

 Tr. at 40:4–8 (GE) (“if we are putting a policy in place that says that that training can only be used

 at that site and limited to go out to other sites, I agree that would be wrong.”); Docket No. 178,

 4/24 (AM) Tr. at 18:6–25, 22:1–4, 25:24–26:7 (GE) (“The intent of the form is that the customer

 is verifying that this individual works for their site. Q. And meaning that they can’t go out then

 and service that -- the same machine at other sites, right? A. . . . that’s the intention of the form,

 yes.”); Docket No. 180, 4/25 (AM) Tr. at 25:22–26:9 (GE) (“If the policy were, previously to

 yesterday -- now, when it said exclusive, it meant they could only work at that hospital and none

 other, that would be wrong, wouldn’t it? A. That would be wrong, yes. Q. It would be wrong of

 GE to enforce that policy, wouldn’t it? A. It would.”); Docket No. 181, 4/25 (PM) Tr. at 60:9–14

 (Schulman). The jury was entitled to consider this evidence and was reasonable in determining

 that GE did not have a credible, legitimate business justification. In light of the record evidence

 in total, substantial evidence supports the jury’s determination that the training policy was

 anticompetitive, and GE’s motion for judgment as a matter of law on this basis is DENIED.

        (7) GE’s Policies did not Injure Competition

        GE’s next argument is that Plaintiffs failed to show that GE’s policies harmed competition.

 According to GE, Plaintiffs retain the ability to purchase the parts that they need and Plaintiffs

 introduced no evidence that the appointment of a distributor has caused a decrease in the number

 of competitors in the alleged relevant markets. Docket No. 192 at 23–24. Similarly, GE contends


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 that Plaintiffs’ claims regarding training should also fail because the policies have not and do not

 exclude GE competitors from competing in the service and machine markets. Id. at 24. GE

 suggests that numerous witnesses conceded that GE training was not necessary to service machines

 and that most Plaintiffs could not even demonstrate that they have requested training since 2005,

 which further shows training is unnecessary to compete. Id.

         GE also contends that customers have not been harmed by either policy. Id. at 25. GE

 contends that Dr. House’s regression analysis is are inaccurate and that GE’s monthly contract

 revenues for servicing have actually declined during the relevant time period. Id. at 26. GE also

 contends that its margins and prices for service have decreased in recent years. Id. GE also

 suggests that the price for anesthesia machines during the relevant time period has also decreased.

 Id. at 27.

         Plaintiffs respond that GE’s parts and training policies hurt both competition and

 customers. According to Plaintiffs, ISOs were growing by double digits in the GE anesthesia-

 service market prior to the enactment of the policies and substantial evidence showed that GE’s

 policies precluded ISOs from continuing this growth. Docket No. 209 at 24 (citing Docket No.

 178, 4/24 (AM) Tr. at 81:3–25 (House)). Plaintiffs also suggest that their sales of refurbished

 machines have fared similarly. Id. (citing Docket No. 170, 4/18 (PM) Tr. at 133:15–23

 (Metropolitan); Docket No. 176, 4/21 (AM) Tr. at 86:11–15 (Heartland); Docket No. 177, 4/21

 (PM) Tr. at 118:16–22 (Paragon); Docket No. 178, 4/24 (AM) Tr. at 31:20–32:4, 79:3–79:9, 85:2–

 9, 86:19–87:7, 101:5–20 (House)).

         Specifically, with respect to the parts policy, Plaintiffs argue that substantial evidence

 supported that timely access to GE parts was essential for servicing and refurbishing anesthesia

 machines; the imposition of Alpha Source was designed to and succeeded in slowing down




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 competition; the denial of access harmed Plaintiffs by hamstringing their ability to service and

 refurbish GE anesthesia machines; and this diminished service excluded low-cost ISOs from the

 market, thereby harming competition. Id. at 24–25.

        With respect to the training policy, Plaintiffs contend that substantial evidence showed GE

 training to be necessary to compete for GE anesthesia servicing and machine sales. Id. at 25.

 Particularly, Plaintiffs note that McMaster testified that hospitals require training certificates and

 that Dr. House opined training to be a necessary input because hospitals demanded it. Id. at 24–

 25 (citing Docket No. 177, 4/21 (PM) Tr. at 162:5–8, 153:21–153:2 (McMaster); Docket No. 178,

 4/24 (AM) Tr. at 34:18–35:8 (House)).

        Plaintiffs also argue that the policies harmed customers by leading to higher prices, lower

 quality service, and reduced customer choice. Id. at 27 (citing Ginzburg v. Memorial Healthcare

 Sys., 993 F. Supp. 998, 1015 (S.D. Tex. 1997) (holding that increased prices and diminished quality

 may constitute harm to competition) (citing Rebel Oil, 51 F.3d at 1433); Universal Hosp. Servs. v.

 Hill-Rom Holdings, Inc., 2015 U.S. Dist. LEXIS 154154 (W.D. Tex. Oct. 15, 2015) (“reduction in

 consumer choice is evidence of harm to competition”)).

        In response to GE’s argument that customers have not been harmed because they remain

 able to order parts directly from GE and can endorse their preferred service provider, Plaintiffs

 note that McMaster testified at trial that service customers prefer their service providers to obtain

 and manage parts necessary for service rather than have to handle that themselves. Id. at 28 (citing

 Docket No. 177, 4/21 (PM) Tr. at 160:18–162:1 (McMaster); Docket No. 174, 4/20 (AM) Tr. at

 83:9–85:20 (Bay State)).

        With respect to GE’s argument that anesthesia machine customers have not been harmed

 because the price for GE anesthesia machines has decreased over the relevant time period,




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 Plaintiffs suggest that GE’s policies have limited the supply of refurbished machines, which are

 typically 50 percent cheaper than new machines sold by GE. Id. at 29 (citing Docket No. 176,

 4/21 (AM) Tr. at 86:5–7 (Heartland)). Additionally, Plaintiffs suggest that overall anesthesia

 machine prices are higher than they would be in a competitive market. Id. (citing Docket No.

 178, 4/24 (AM) Tr. at 31:15–19, 79:3–80:7, 85:2–9, 86:19–87:7, 101:5–20 (House)).

        Plaintiffs produced substantial evidence of harm to both competition and customers. For

 example, Plaintiffs presented evidence suggesting that ISOs, the low cost providers in the market,

 were growing by double-digits before GE’s policies. PX-224. Similarly, Plaintiffs were unable

 to compete as a result of the parts and training policy, and their exclusion from the market harmed

 competition. See supra Section A.(5)–(6) (explaining that Plaintiffs presented substantial evidence

 the ISOs were harmed as a result of the parts and training policies and that timely access to parts

 and access to training are necessary to compete); see also Docket No. 178, 4/24 (AM) Tr. at

 79:16–81:2 (House) (explaining that the parts policy impeded refurbished machine business);

 Docket No. 177, 4/21 (PM) Tr. at 153:21–156:16, 158:18–160:11 (McMaster) (explaining that

 increased prices for service as a result of the parts policy harm hospitals and that some hospitals

 rely on refurbished machines to cut costs). Plaintiffs also presented evidence that the policies led

 to price increases, deterioration in service quality, and more limited customer choice with respect

 to service. Docket No.178, 4/24 (AM) Tr. at 82:1–84:10; 84:11–20 (House) (explaining that when

 ISOs are retarded or have retrenched, GE’s prices rise and that the delays from the parts policy led

 to deterioration in service quality); 31:2–9 (House) (same).

        Accordingly, there is also sufficient evidence in the record to support a reasonable jury’s

 finding of an injury to competition. GE’s motion for judgment as a matter of law on this basis is

 DENIED.




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        (8) Plaintiffs’ Monopoly Leveraging and Essential Facilities Theories are not Cognizable

        Finally, GE argues that Plaintiffs’ monopoly leveraging and essential facilities claims are

 not cognizable. GE suggests that a monopoly leveraging claim cannot constitute an additional

 claim in an antitrust suit and necessarily relies on an underlying refusal to deal claim. Docket No.

 192 at 28 (citing Z-Tel Commc’ns, 331 F. Supp. 2d at 542). GE contends that, since it has not

 engaged in a refusal to deal, there can be no monopoly leveraging claim. Id.

        GE also argues that the essential-facilities doctrine is not a valid basis for antitrust liability.

 Docket No. 192 at 28–29. GE points to the Supreme Court’s opinion in Trinko, which held that

 the essential facilities doctrine, to the extent it exists, serves no purpose where access exists. Id.

 at 29 (citing Trinko, 540 U.S. at 411). GE contends that, here, because access to GE parts and

 training is available to Plaintiffs, the doctrine would be irrelevant, even if it was recognized. Id.

 GE suggests the doctrine is inapplicable because training is not essential for servicing anesthesia

 machines and because some Plaintiffs have received training since GE moved its training facility

 in 2013 and since GE implemented its customer endorsement policy. Id. at 29–30.

        Plaintiffs respond that monopoly leveraging and the essential facilities doctrine are both

 well-recognized theories of antitrust liability. Docket No. 209 at 29–30 (citing Docket No. 146 at

 9 (citing Z-Tel Commc’ns, 331 F. Supp. 2d at 543; Eastman Kodak Co., 504 U.S. at 479 n.29;

 ABA Model Jury Instructions in Civil Antitrust Cases § 3.B.3)).

        “[A] firm may not employ its market position as a lever to create or attempt to create a

 monopoly in another market.” Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 275 (2d

 Cir. 1979). While the Fifth Circuit has not addressed whether monopoly leveraging is a basis for

 recovery, this Court has previously held that it is not inconsistent with Supreme Court precedent.

 Z-Tel Commc'ns, 331 F. Supp. 2d at 543. To the extent GE suggests that monopoly leveraging

 “presupposes anticompetitive conduct” and would require an underlying refusal to deal claim,


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 substantial evidence supports Plaintiffs’ refusal to deal theory with respect to the parts and training

 policies. See supra Section A.(1)–(7).

          A monopolist who controls a “facility or resource that is essential to competitive viability

 in the marketplace must grant access to it on reasonable terms to (its) competitors.” Mid-Texas

 Commc’ns Sys., Inc. v. Am. Tel. & Tel. Co., 615 F.2d 1372, n. 13 (5th Cir. 1980). “The ‘essential

 facilities’ doctrine imposes on the owner of a facility that cannot reasonably be duplicated and

 which is essential to competition in a given market a duty to make that facility available to its

 competitors on a nondiscriminatory basis.”                    Ferguson v. Greater Pocatello Chamber of

 Commerce, Inc., 848 F.2d 976, 983 (9th Cir. 1988). While the essential-facilities theory is

 recognized in multiple circuits, it has neither been recognized nor repudiated by the Supreme

 Court. Trinko, 540 U.S. at 411.

          With respect to essential facilities, as detailed above, Plaintiffs advanced substantial

 evidence that they did not have meaningful access to parts or training, which are essential inputs

 to compete in the anesthesia machine servicing market. See supra Section A.(1)–(7).

          Accordingly, GE’s motion for judgment as a matter of law on Plaintiffs’ essential facilities

 and monopoly leveraging theories is DENIED.1

         B. GE’s Renewed Motion for Judgment as a Matter of Law for Lack of Injury or
                                   Damages (Docket No. 193)

          GE separately renewed its motion for judgment as a matter of law alleging that Plaintiffs

 failed to show GE’s allegedly anticompetitive policies were the proximate cause of Plaintiffs’

 injuries. Docket No. 193.


 1
  GE also claims that extending Aspen Skiing to require a company to train its competitors is improper in light of First
 Amendment concerns, but GE did not raise this argument in its Rule 50(a) motion. Docket No. 192 at 20; compare
 Docket No. 157. “If a party fails to move for judgment as a matter of law under Federal Rule of Civil Procedure 50(a)
 on an issue at the conclusion of all of the evidence, that party waives . . . its right to file a renewed post-verdict Rule
 50(b) motion.” Flowers v. S. Reg'l Physician Servs. Inc., 247 F.3d 229, 238 (5th Cir. 2001). Accordingly, GE’s First
 Amendment argument is waived.


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        GE claims that several Plaintiffs lacked an injury in fact because Alpha Source was not the

 ISOs’ sole source of GE parts. Particularly, GE notes that Plaintiffs ASI, Metropolitan, and

 Diversified each testified that they continued to purchase parts from other ISOs undisturbed by

 GE’s new policies. Id. at 2–3 (citing Docket No. 170, 4/18 (PM) Tr. at 149:1–13 (Metropolitan);

 Docket No. 172, 4/19 (PM) Tr. at 134:7–10 (ASI); Docket No. 177, 4/21 (PM) Tr. at 71:16–72:4

 (Diversified)). GE also suggests that Metropolitan, Palo Verde, and ASI have continued to

 purchase parts directly from GE distributors other than Alpha Source and Parts Source. Id. at 3

 (citing Docket No. 170, 4/18 (PM) Tr. at 149:8–9; Docket No. 172, 4/19 (PM) Tr. at 134:5–6;

 Docket No. 175, 4/20 (PM) Tr. at 15:18–16:4). Palo Verde, according to GE, testified that it never

 purchased parts from Alpha Source. Id. (citing Docket No. 175, 4/20 (PM) Tr. at 15:18–16:4).

        GE also contends that Penn Biomedical, MARS, and Paragon each testified that they were

 not harmed by the appointment of Alpha Source. Id. at 5. GE suggests that Penn Biomedical

 testified that it voluntarily purchased parts from Alpha Source over GE before GE made Alpha

 Source its distributor, that MARS testified it could not identify a time when Alpha Source refused

 to or could not sell to them a part for a GE anesthesia machine, and that Paragon testified similarly,

 adding that Alpha Source did a “pretty good job.” Id. (citing Docket No., 172 4/19 (PM) Tr. at

 23:23–24:8; Docket No. 172, 4/19 (PM) Tr. at 99:2–15; Docket No. 177, 4/21 (PM) Tr. at 137:22–

 138:18). According to GE, similarly fatal to Plaintiffs’ claims is the fact that no Plaintiff

 introduced evidence of actual lost business as a result of GE’s parts policy. Id. at 4.

        GE likewise argues that several Plaintiffs failed to establish they were injured by GE’s

 training policies because they either did not request training or because they serviced equipment

 without training. Specifically, GE suggests that (1) GasMedix had not requested training since

 2005; (2) Metropolitan could not produce any evidence that anyone at the company sought training




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 on the Aisys machine; (3) MARS never contacted GE to request training on either the Avance or

 the Aisys machines; (4) Bay State had not requested training since 2012; (5) SAS stated that it

 had not been impacted by the allegedly limited availability of GE trainings because they had not

 attempted to enroll in any GE classes; (6) Trinity did not seek training prior to the endorsement

 policy’s introduction in 2015 because they were too small to afford such training and did not seek

 training after the endorsement policy was enacted in 2015; and (7) Red Lion has serviced various

 GE anesthesia machines at hospitals and surgery centers despite the fact that it does not have GE

 certified training certificates on those respective machines. Id. at 4–5.

           GE argues that Plaintiffs who GE accepted for training or who actually attended training

 during the relevant period could not have been injured and cannot claim injury based on others’

 inability to attend training. Id. at 5 (citing Holmes v. Securities Investor Protection Corp., 503

 U.S. 258, 268–69 (1992)). GE also contends that Plaintiffs’ anecdotal evidence of lost sales from

 2015 cannot support a damages award that compensates them for lost business back to 2011. Id.

 at 5–6.

           With respect to the refurbishment Plaintiffs, GE contends that lack of evidence of injury

 relating to Doctors Depot, Metropolitan, Paragon, Heartland, Biomedical Concepts, and MARS

 also requires judgment as a matter of law. Id. at 6. Particularly, GE notes that Aaron Frye, who

 testified for Doctors Depot, stated that no regulations require a machine to be certified to be

 refurbished and resold. Id. at 6 (citing Docket No. 172, Tr., 4/19 (PM) Tr. at 60:17–2). Similarly,

 GE argues that Metropolitan and Heartland testified at trial that training was not required for an

 ISO to refurbish machines. Id. at 7 (citing Docket No. 171, 4/19 (AM) Tr. at 13:14–19 (“Q. Are

 you aware of any training requirement for the refurbishment of anesthesia machines? A. And I

 assume that’s for an FDA or a requirement for theirs . . . . Q. No–no legal requirement? A. Not




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 that I know of.”)). GE also argues that its own employees who refurbish machines do not take the

 training classes at issue in this case. Id. (citing Docket No. 175, 4/20 (PM) Tr. at 127:6–19).

        GE also suggests that Doctors Depot was not injured by Alpha Source, but, instead,

 preferred that GE shouldered its inventory management costs. Id. at 7. With respect to Metro, GE

 argues that it sold more machines every year after Alpha Source was appointed. Id.

        Finally, GE also argues that no reasonable jury could have found damages. Id. at 8–9.

 Particularly, GE argues that Dr. House’s damages opinion was deficient and no reasonable jury

 could have credited it. Id. GE faults Dr. House’s methodology for relying on “First Mover”

 literature, for grouping competitors into sets of market entrants, and for incorrectly applying the

 literature by failing to identify second and third movers. Id.

        According to GE, no reasonable jury could have found lost machine sales damages because

 Dr. House’s methodology was based on speculation and unreliable methodology, namely that all

 Plaintiffs’ refurbishing businesses would grow significantly, year after year. Id. at 9. Likewise,

 GE argues that Dr. House failed to account for other reasons why Plaintiffs’ businesses did not

 grow. Id. at 9–10. Finally, GE suggests that no reasonable jury could have found that each Plaintiff

 was poised to expand by 2.72 times. Id. at 10.

        Plaintiffs respond that GE’s motion improperly discounts the “synergistic effect and full

 array of GE’s anticompetitive conduct.” Docket No. 210 at 3 (citing Continental Ore Co. v. Union

 Carbide & Carbon Corp., 370 U.S. 690, 699 (1962); see also New York ex rel. Schneiderman v.

 Actavis PLC, 787 F.3d 638, 653–54 (2d Cir. 2015) (considering “the overall effect” of a

 monopolist’s conduct); City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992)

 (it is “not [] proper to focus on specific individual acts of an accused monopolist while refusing to

 consider their overall combined effect”)). Plaintiffs suggest that there was overwhelming evidence




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 that GE’s refusal to sell parts to Plaintiffs directly and requiring them to use Alpha Source

 increased costs and slowed down Plaintiffs’ service, preventing Plaintiffs from competing and

 forcing customers to a higher priced option. Plaintiffs point to the fact that GE’s denial of training

 prevented Plaintiffs from acquiring software cards essential to working on newer machines like

 the Aisys. Id. at 4.

        In response to GE’s argument that certain Plaintiffs had access to GE parts and training,

 Plaintiffs urge that timely access to fairly-priced parts and training are essential to compete. Id. at

 6. Plaintiffs argue that Dr. House showed the Alpha Source policy to result in a price increase on

 average of 24 percent and a delay in shipments for all ISOs. Id. Plaintiffs maintain that, even if

 Alpha Source was not the sole source of parts for Plaintiffs, substantial evidence showed that a

 servicer’s ability to pick up stray parts in some unreliable manner or to acquire parts for older

 machines does not translate to viable competition in the GE anesthesia-service market. Id. at 6–7.

        With respect to training, Plaintiffs maintain that GE refused requests for training and the

 endorsement policy made it impossible for Plaintiffs to request training because it would be

 economically infeasible to meet GE’s demands. Id. at 7. In response to GE’s argument that some

 Plaintiffs have serviced machines that they were not trained on, Plaintiffs argue that substantial

 evidence showed that training is a prerequisite to meaningfully compete because customers

 demand it, and, for newer machines, a technician cannot service a machine without it. Id. at 8

 (citing Docket No. 170, 4/18 (PM) Tr. at 100:8–101:4 (Metropolitan); Docket No. 177, 4/21 (PM)

 Tr. at 153:21–154:2, 162:5–164:13 (McMaster); Docket No. 180, 4/25 (AM) Tr. 22:6–10 (GE);

 Docket No. 178, 4/24 (AM) Tr. at 35:9–36:1 (House)). Similarly, Plaintiffs maintain that even if

 a single technician may have managed to obtain training, GE’s policies still injure that Plaintiff by




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 preventing it from getting additional technicians trained or from having that technician trained on

 additional machines. Id.

        Plaintiffs argue that they are not required to point to specific lost accounts to be injured by

 GE’s conduct. Id. Instead, Plaintiffs maintain that they need only prove that the injury sustained

 has been an “injury of the type the antitrust laws were intended to prevent and that flows from that

 which makes defendants’ acts unlawful. The injury should reflect the anticompetitive effect either

 of the violation or of anticompetitive acts made possible by the violation. It should, in short, be the

 type of loss that the claimed violations … would be likely to cause.” Id. at 8–9 (citing Bayou

 Bottling, Inc. v. Dr. Pepper Co., 725 F.2d 300, 303 (5th Cir. 1984)). With respect to refurbished

 machines in particular, Plaintiffs argue that GE’s policies prevented Plaintiffs from reconditioning

 and selling refurbished GE anesthesia machines, which injured Plaintiffs because GE parts and

 training are essential to recondition and refurbish machines. Id. at 13.

        Finally, Plaintiffs argue that GE’s attacks on Dr. House’s methodology should be rejected

 because they (1) were waived, (2) raise methodological challenges to expert opinions that are not

 properly interposed in a Rule 50 motion, (3) rehash arguments that the Court already rejected in

 its Daubert Order, and/or (4) are untenable based upon the trial record. Docket No. 210 at 9.

        The Court has addressed most of GE’s concerns in the context of GE’s previous motion

 for judgment as a matter of law. See supra Section A. As detailed in Sections (5)–(6), Plaintiffs

 have adduced substantial evidence that timely access to parts was necessary to compete and that

 GE training was necessary to service GE machines. Additionally, the Court determined supra

 Section A.(5) that there was substantial evidence indicating that the parts policy increased costs

 and slowed down Plaintiffs’ service, preventing Plaintiffs from competing and forcing customers

 to a higher priced option. The Court will “uphold [the] jury verdict unless the facts and inferences




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 point so strongly and so overwhelmingly in favor of [GE] that reasonable men could not arrive at

 any verdict to the contrary.” Cousin, 246 F.3d at 366. That some Plaintiffs obtained parts from

 non-Alpha Source sources does not defeat the jury’s finding, supported by substantial evidence,

 that Plaintiffs were denied access to timely parts. Likewise, that individual Plaintiffs did not seek

 training is not fatal to Plaintiffs’ cases because substantial evidence was presented that the

 customer endorsement policy prevented Plaintiffs from even seeking training. See supra Section

 A.(6). GE’s identification of a handful of instances where Plaintiffs were able to obtain training

 during the relevant period does not defeat the substantial evidence in the record that GE’s policies

 injure each Plaintiff by preventing that Plaintiff from getting additional technicians trained on GE

 anesthesia machines or from having the particular technician trained on additional machines.

 Accordingly, judgment as a matter of law for lack of injury to Plaintiffs is inappropriate, and GE’s

 motion is DENIED.

        With respect to damages, the Court notes that the majority of GE’s argument comes from

 its Daubert motion. To the extent that the arguments contained in GE’s motion mirror those

 considered in the Daubert motion—particularly with respect to the applicability of the First Mover

 literature—GE’s motion is DENIED and the Court herein incorporates by reference its Daubert

 Order. See Docket No. 149. To the extent GE raises new arguments not raised at trial—including

 Dr. House’s failure to identify a second and third mover and Dr. House’s 2.72 growth factor—the

 Court declines to consider those arguments at the Rule 50(b) stage because they were not properly

 preserved. See Montano v. Orange Cnty., Texas, 842 F.3d 865, 875 (5th Cir. 2016) (“Rule 50(a)

 requires specificity for good reason. Its ‘specific grounds’ requirement for a pre-verdict motion for

 judgment as a matter of law . . . serves both to make the trial court aware of the movant’s position




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 and to give the opposing party an opportunity to mend its case.”). Accordingly, GE’s motion for

 judgment as a matter of law with respect to Dr. House’s methodology is DENIED.



           C. GE’s Renewed Motion for Judgment as a Matter of Law as to Allegations
            Concerning Software Updates and Disparagement Theories (Docket No. 194)

        In its Renewed Motion for Judgment as a Matter of Law on Software Updates and

 Disparagement, GE argues that the Court should grant judgment as a matter of law on Plaintiffs’

 liability theories based on disparagement and failure to provide software updates because (1)

 Plaintiffs’ alleged disparagement theory fails as a matter of law after the Fifth Circuit’s decision

 in Retractable Techs., Inc. v. Becton Dickinson & Co, 842 F.3d 883 (5th Cir. 2016) (“RTI”); (2)

 even if false advertising could form the basis for antitrust liability, only three of the 17 Plaintiffs

 attempted to offer any evidence of disparagement and no reasonable jury could have found

 disparagement as to any of the Plaintiffs; and (3) Plaintiffs’ refusal to deal claims based on software

 updates fail as a matter of law because those claims depend on copyrighted material. Docket No.

 194.

        The Fifth Circuit recently clarified in RTI that there is an extremely high bar for a false-

 advertising antitrust claim, and, “absent a demonstration that a competitor’s false advertisements

 had the potential to eliminate, or did in fact eliminate, competition, an antitrust lawsuit will not

 lie.” 842 F.3d at 894–95. In RTI, the Fifth Circuit recognized that “false advertising alone hardly

 ever operates in practice to threaten competition . . . because [it] simply sets the stage for

 competition in a different venue: the advertising market,” and because “it will often be difficult to

 determine whether such false statements induced reliance by customers and produced

 anticompetitive effects, or whether the buyer attached little weight to the statements and instead

 regarded them as biased and self-serving.” Id. at 895. In cases where the relevant customers are



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 sophisticated, the latter is more likely. Id. The customers at issue in RTI were sophisticated parties:

 hospitals and [group purchasing organizations] that used multidisciplinary committees which had

 experience with the competing products. Id. at 896. In finding that “no facts adduced at trial

 indicated that [Defendant’s] advertising in fact harmed competition,” the Fifth Circuit particularly

 noted that there was no testimony from customers themselves. Id. at 897.

         Plaintiffs’ disparagement-based claim, which amounts to Plaintiffs’ claim regarding GE’s

 marketing materials sent directly to customers, fails for lack of evidentiary support. As noted in

 RTI, it will often be difficult to determine whether false statements induced reliance by consumers

 and produced anticompetitive effects or whether the buyer attached little weight to the statements

 and instead regarded them as biased and self-serving. 842 F.3d at 895. Here, however, as in RTI,

 the intended recipients of the marketing materials are hospitals, sophisticated parties who are more

 likely to discount disparagement as bias or self-serving. Id. The evidence Plaintiffs point to in

 response to GE’s motion includes a general statement from Dr. House that disparagement harms

 competition because customers are less likely to secure the services of a disparaged party and

 statements from ISOs about the existence of the marketing materials. See Docket No. 211 at 6,

 n.7 (citing Docket No. 178, 4/24 (AM) Tr. at 78:17–79:2 (House)). But a single statement from

 Plaintiffs’ expert that the statements rendered customers less likely to secure Plaintiffs’ services—

 without more—does not amount to evidence of harm or potential for harm to competition. Further,

 14 Plaintiffs offered no evidence at all of disparagement—identifying no specific marketing

 materials or statements by GE that even referred to them. None of them identified a customer that

 had heard any alleged disparagement, and none of them identified any customer or opportunity

 they lost because of alleged disparagement.         Three Plaintiffs testified to disparagement—

 Biomedical Concepts, Metropolitan and Gasmedix. But Biomedical Concepts could not identify




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 evidence that anyone from GE ever disparaged it. See Docket No. 171, 4/19 (AM) Tr. at 86:20–

 25 (“Q. You yourself, sir, you don’t have any evidence that anyone from GE ever disparaged you

 or your company, right? A. I can’t remember any per se, you know, and -- Jeff and that -- you

 know, they have a -- a larger organization than we do, and they -- they see more people. And so

 I'm sure that would be more likely to happen with him than maybe me.”). Metropolitan claimed

 that it had been a victim of disparagement but provided no details. Docket No. 170, 4/18 (PM) Tr.

 at 126:15–19 (“Q. Are those the GE people out there in the hospitals disparaging your crowd? A.

 Yes. Q. Have you been a victim of that. A. Yes.”). And Gasmedix stated that GE characterized its

 services as “dangerous” to a customer but never lost that account. Docket No. 176, 4/21 (PM) Tr.

 at 11:21-12:19.

        Plaintiffs also argue that they could not “possibly identify all of the contracts or

 opportunities they have lost on account of GE’s illegal conduct.” Id. Even if that is true, Plaintiffs

 did not attempt to show that the marketing materials had the potential to eliminate competition.

 See RTI, 842 F.3d at 894–95. Indeed, like in RTI, Plaintiffs presented no testimony from customers

 themselves about the effect of GE’s marketing materials. Accordingly, GE’s motion with respect

 to Plaintiffs’ disparagement theory is GRANTED.

        With respect to GE’s motion on software updates, the Court is persuaded that GE’s

 copyrights afford it exclusive rights over its works, which GE is not required to license to others,

 and, under the circumstances of this case, GE’s refusal to provide software updates to Plaintiffs is

 simply an exercise of its intellectual property rights that does not violate the antitrust laws. See,

 e.g., Service Training, Inc. v. Data Gen. Corp., 963 F.2d 680, 690 (4th Cir. 1992) (stating that

 “limiting the use of software to repair and maintenance of specific computer hardware [is] an

 activity that is protective as an exclusive right of a copyright owner”); Tricom, Inc. v. Electronic




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 Data Sys. Corp., 902 F. Supp. 741, 743–44 (E.D. Mich. 1995) (“under patent and copyright law,

 EDS may not be compelled to license its proprietary software to anyone”); Advanced Computer

 Serv. of Mich. v. MAI Sys. Corp., 845 F. Supp. 356, 368–69 (E.D. Va. 1994) (“it is within [the

 manufacturer’s] discretion to protect its copyrighted works, and this discretion includes the right

 to license its software to whomever it chooses”).

         There is a dearth of evidence in the record that the software update policy constituted a

 refusal to deal. Plaintiffs have identified no evidence suggesting that GE’s previous conduct of

 notifying the ISOs of software updates was a profitable course of dealing for GE; instead, Plaintiffs

 merely argue that third-party access to software and updated notifications were “important to GE

 customers.” Docket No. 211 at 8 (citing Docket No. 174, 4/20 (AM) Tr. at 52:4–8 (GE); Docket

 No. 175, 4/20 (PM) Tr. at 85:21–25 (GE); Docket No. 174, 4/20 (AM) Tr. at 119:11–17 (Bay

 State); Docket No. 177, 4/21 (PM) Tr. at 91:10–20 (Paragon)). Plaintiffs’ cited evidence includes

 testimony from Thomas Birmingham of Bay State that customers “would prefer that we’re

 knowledgeable about those technical bulletin updates,” testimony from Thomas Green, president

 of Paragon, suggesting that some service contracts from customers require the ability to perform

 software upgrades and testimony from Kurt Page, the general manager of LCS Services for GE

 Healthcare, who agreed that “it’s pretty important to customer safety” for a technician to know

 about important updates for the operation of a machine. Docket No. 175, 4/20 (PM) Tr. at 85:21–

 25 (GE); Docket No. 174, 4/20 (AM) Tr. at 119:11–17 (Bay State); Docket No. 177, 4/21 (PM)

 Tr. at 91:10–20 (Paragon)).2 These statements do suggest that the software updates were viewed

 as important by both GE and the ISOs, but a policy can be both important to customers and not a

 profitable course of dealing.


 2
  Plaintiffs also cite the testimony of Mr. Porter from GE who stated that an average part order costs $650 and bears
 an 80 percent profit margin. Docket No. 174, 4/20 (AM) Tr. at 52:4-8 (GE).


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         Relatedly, Plaintiffs did not present substantial evidence at trial that GE’s software update

 policy had no legitimate business justification. In its response to GE’s motion, Plaintiffs simply

 claim that GE failed to present any evidence attempting to justify its conduct. Docket No. 211 at

 8–9. But, as Plaintiffs note, GE explains that it ceased providing software updates to the ISOs

 because it does not know “the service provider for every owner of GE machines.” Id. at 9 (citing

 Docket No. 194 at 7). In response to GE’s business justification, Plaintiffs only offer attorney

 argument and cite to no relevant evidence in the record.3

         Because Plaintiffs have not presented substantial evidence regarding the software policy,

 GE’s motion with respect to its software notifications and update policies is GRANTED.

     D. GE’s Renewed Motion for Judgment as a Matter of Law as to Plaintiffs POPN, Palo
                       Verde, and SAS Acquisitions (Docket No. 195)

         GE also requests that judgment as a matter of law be granted, it asks the Court to grant

 judgment as a matter of law as to three Plaintiffs for lack of injury: (1) POPN, (2) Palo Verde, and

 (3) SAS. Docket No. 195.

         (1) POPN

         GE contends that POPN is a non-operational holding company and has suffered no injury

 from the challenged policies. Id. at 2. According to GE, the trial record established that POPN

 does not perform service on anesthesia machines, does not purchase anesthesia parts, and has not

 attempted to receive training from GE. Id. (citing Docket No. 171, 4/19 (AM), Donald Yanusko

 (POPN, Inc.), at 141: 22–25; at 142: 1; Docket No. 172, 4/19 (PM), Donald Yanusko (POPN, Inc.),

 at 5:14–24)). GE claims that POPN’s antitrust claims rest upon a term from the Penn Biomedical

 sale transaction that excluded from the sale proceeds from a class action lawsuit, but GE notes that


 3
   Plaintiffs also cite the trial transcript—particularly to the testimony of Mr. Birmingham from Bay State. See id.
 (citing Docket No. 174, 4/20 (AM) at 87:4–24.) But Mr. Birmingham’s testimony about the customer-endorsement
 form is irrelevant to whether GE had a valid business justification for restricting access to its software updates.


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 this is not a class action lawsuit and that POPN suffered no independent, cognizable injury as

 required to establish an antitrust claim. Id. at 3.

         Plaintiffs respond that GE’s argument amounts to a true party-in-interest argument that

 POPN lacks standing, an argument that is waived because GE failed to raise it earlier in the

 litigation. Docket No. 212 at 2. Alternatively, Plaintiffs contend that the evidence at trial

 established that POPN, as Penn Biomedical’s successor-in-interest, retained Penn Biomedical’s

 antitrust claims against GE. Id. at 3.

         Based on the record established at trial, POPN is “simply a holding company that was made

 for the transition of the sale of a company called Penn Biomedical Support, so POPN, Inc. receives

 funds for the sale of that company.” Docket No. 171, 4/19 AM 141:22– 42:1. It was Plaintiffs’

 burden to show at trial that POPN suffered an injury, and it is unclear from the record whether

 Penn Medical properly assigned its antitrust claim to POPN. The only evidence in the record that

 Penn Medical’s antitrust claims were assigned to POPN was Mr. Donald Yanusko’s agreement

 that he “didn’t sell any right to recovery from this lawsuit” when Penn Biomedical was sold, which

 is insufficient as a matter of law. Docket No. 172, 4/19 (PM) Tr. at 8:3–22 (POPN); DNAML Pty,

 Ltd. v. Apple Inc., No. 13CV6516 (DLC), 2015 WL 9077075, at *3 (S.D.N.Y. Dec. 16, 2015)

 (explaining that “[t]o effect a transfer of the right to bring an antitrust claim, the transferee must

 expressly assign the right to bring that cause of action, either by making specific reference to the

 antitrust claim or by making an unambiguous assignment of causes of action in a manner that

 would clearly encompass the antitrust claim”) (collecting cases). Because Plaintiffs did not meet

 their burden to show that POPN sustained an injury from the challenged conduct and that POPN

 does not have standing to pursue the claims of Penn Biomedical, GE is entitled to judgment as a

 matter of law on POPN’s claims. See Geoffrion v. Nationstar Mortg. LLC, 182 F. Supp. 3d 648,




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 669–71 (E.D. Tex. 2016) (…“[T]he Fifth Circuit has made clear that as standing is not subject to

 waiver by the parties, a party’s pretrial, and even post-trial, failures to contest standing cannot,

 ipso facto, create jurisdiction in federal court.”) (internal citations omitted). Accordingly, GE’s

 motion with respect to POPN is GRANTED.

        (2) Palo Verde

        GE also argues that Palo Verde suffered no injury from the challenged policies because it

 never bought parts from Alpha Source and went out of business before the challenged changes to

 GE’s training policy. Docket No. 195 at 4.

        In response, Plaintiffs argue that GE’s exclusion of Palo Verde from essential training dates

 back to 2011 and that GE had been restricting ISO access to training to harm the competition since

 2011. Docket No. 212 at 3–4.

        Mark Ruthem of Palo Verde testified that Palo Verde received training on the Aestiva in

 2009, the Aespire in 2010, the Avance in 2010, and the Aespire in 2011. Docket No. 175, 4/10

 PM 18:24–19:8. Additionally, Palo Verde never purchased any parts from Alpha Source and did

 not claim to have been injured by the parts policy. See id. at 15:14–23. Substantial evidence does

 not support the jury’s finding that Palo Verde was injured by GE’s parts or training policies, and

 GE’s motion for judgment as a matter of law on Plaintiff Palo Verde’s claims is GRANTED.

        (3) SAS

        According to GE, SAS has not suffered any injury because it never requested training, was

 not denied training, and its customers—veterinary clinics—do not require training. GE also notes

 that SAS testified that it was unaffected by the Alpha Source appointment. Docket No. 195 at 5

 (citing Docket No. 175, 4/20 (PM) Tr. at 187:21–25, 188:1–3, 187:3–20, 190:20–22, 172:11–15,

 190:17–22).




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         Plaintiffs respond that, at trial, SAS’s representative, John Uber, listed contracts that SAS

 lost when the last trained technician left SAS and explained how SAS could not obtain new

 customers because it lacked training. Docket No. 212 (citing Docket No. 175, 4/20 (PM) Tr. at

 168:1–4 (SAS) (listing ISS Solutions, UHSS, and Akron Oral as “examples of some of the business

 that [SAS] [wasn’t] able to continue working on because [SAS] didn’t have training”), 167:9–16,

 189:22–190:16 (explaining SAS’s inability to retain customers that had used Drager machines but

 were transitioning to GE machines because of an inability to take GE training courses)). Plaintiffs

 also contend that, because of the customer endorsement policy, the fact that SAS did not request

 training is not fatal to its claim. Id.

         Substantial evidence supports SAS’s claim that it was injured as a result of the training

 policy. SAS outlines specific customers it was unable to continue working for when its last trained

 employee left the company and that it was unable to enroll in the necessary training because of the

 customer endorsement policy. Docket No. 175, 4/20 PM 164:17–168:20.

         Conversely, however, substantial evidence does not support SAS’s claim that it was injured

 as a result of the parts policy. Mr. Uber specifically testified that SAS did not have a problem

 getting parts from Alpha Source and that its purchase of parts through Alpha Source did not affect

 its relationship with its customers. Id. at 162:10–163:4.

         Accordingly, GE’s motion for judgment as a matter of law as to SAS is GRANTED with

 respect to the parts policy and DENIED with respect to the training policy.

         E. GE’s Motion in the Alternative for a New Trial on All Issues (Docket No. 196)

         In GE’s final post-trial motion, it moves in the alternative for a new trial on several bases.

 Docket No. 196. First, GE requests a new trial because it argues that the Court improperly rejected

 GE’s proposed jury instructions on geographic market and improperly included instructions related

 to monopoly leveraging, essential facilities, and direct evidence. Id. at 1. Second, GE argues that


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 it is entitled to a new trial because Dr. House’s damages methodology is flawed. Id. at 2. Third,

 GE argues that a new trial should be granted because of Plaintiffs’ counsel’s closing argument that

 Plaintiffs could not obtain any relief if the jury failed to award damages. Id. at 14–15. And finally,

 GE requests a new trial in the event the Court grants any of its judgment as a matter of law motions

 on the parts, training, disparagement, or software update policies. Id. at 7–8.

        (1) Jury instructions

        To successfully challenge a jury instruction, GE “must demonstrate that the charge as a

 whole create[d] substantial and ineradicable doubt whether the jury has been properly guided in

 its deliberations.” Hartsell v. Dr. Pepper Bottling Co. of Tex., 207 F.3d 269, 272 (5th Cir. 2000)

 (quoting Johnson v. Sawyer, 120 F.3d 1307, 1315 (5th Cir.1997)). Even if substantial and

 ineradicable doubt is shown, the instruction will still be upheld if the Court determines, “based

 upon the entire record, that the challenged instruction could not have affected the outcome of the

 case.” Id. “In addition, to the extent there is claimed error in refusing to give an instruction, the

 challenger must show as a threshold matter that [the] proposed instruction correctly states the law.”

 Johnson v. Sawyer, 120 F.3d at 1315 (citing FDIC v. Henderson, 61 F.3d 421, 425 (5th Cir. 1995);

 see also Salinas v. State Farm Lloyds, 267 F. App’x 381, 387 (5th Cir. 2008)).

        GE contends that the appointment of an exclusive distributor is presumptively legal and

 that the jury should have been so instructed. GE also argues that, in the refusal to deal and essential

 facilities instructions, the Court should have instructed the jury that GE must have sacrificed short-

 term profits to be liable. Docket No. 196 at 6.

        GE provides no Fifth Circuit case law suggesting that an exclusive distributorship

 instruction was necessary. Even still, its exclusion was harmless because the concept was captured

 in the Court’s refusal to deal instruction. The Court explained to the jury that a “refusal to deal

 that is based on legitimate business reasons does not violate the antitrust laws, even if it is also


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 motivated by the desire to harm competitors or does in fact harm competitors.” Docket No. 161

 at 22. With respect to the profit-sacrifice instruction, GE cites no Fifth Circuit or Supreme Court

 case law holding that a showing of short-term profit sacrifice is a necessary predicate to liability

 under a refusal to deal or essential facilities theory.

          With respect to the geographic market instruction, GE faults the Court’s instructions for

 failing to include language regarding the geographic areas in which Plaintiffs sell their services

 and the geographic areas where each of Plaintiffs’ customers are located. Docket No. 196 at 4.

 The Court relied on the ABA Model Instruction4 for geographic market, listing for the jury six

 nonexhaustive factors to consider. See Docket No. 161 at 4. These factors instruct the jury to

 consider where Plaintiffs sell and compete, and are consistent with Fifth Circuit precedent holding

 that “[t]he geographic market must ‘correspond to the commercial realities’ of the industry.”

 Apani, 300 F.3d at 626. GE has not demonstrated that the Court’s geographic market instruction

 misguided the jury, and the instruction does not warrant a new trial.

          GE also complains that the Court should have included an instruction on refusals to sell

 intellectual property and that its exclusion resulted in prejudice to GE. The jury was instructed

 that activity based even in part of legitimate business reasons does not violate the antitrust laws.

 See Docket No. 161 at 22. The jury was entitled to consider GE’s intellectual property in its

 evaluation of whether GE’s conduct was motivated by a legitimate business purpose. In light of

 GE’s failure to identify any specific prejudice caused by the instruction and the fact that the jury

 was instructed regarding legitimate business purposes, the Court did not err in excluding GE’s

 proposed instruction.



 4
  The Court relied on the ABA Model Jury Instructions in Civil Antitrust Cases in its jury instructions extensively
 because the current Fifth Circuit Pattern Jury Instructions suggest that they may be helpful in drafting jury charges in
 antitrust cases. See Fifth Circuit Pattern Jury Instructions (Civil Cases) at § 6.


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        GE next faults the Court for instructing the jury on direct proof of monopoly power. GE

 states that the instruction given by the Court is unsupported by case law and the evidence presented

 at trial. The instruction given by the Court came directly from the ABA Model Instruction, and

 the ability to prove market power by direct evidence has been recognized by this Court in the past.

 See Z-Tel Commc’ns, 331 F. Supp. 2d at 521 (“There are two ways to establish . . . that the

 defendant holds monopoly power. The first is by presenting direct evidence showing the exercise

 of actual control over prices or the actual exclusion of competitors. The second is by presenting

 circumstantial evidence of monopoly power by showing a high market share within a defined

 market.”) (internal citations omitted). As explained supra Section A.(3), Plaintiffs presented direct

 evidence of GE’s monopoly power at trial. Additionally, GE’s argument that monopoly power

 cannot be shown via direct evidence is at odds with its argument that judgment as a matter of law

 should be granted for lack of direct evidence of market power. See Docket No. 192 at 9.

 Accordingly, GE’s objection to the jury charge on this basis is without merit.

        GE also complains that the Court included instructions related to monopoly leveraging and

 essential facilities in its jury charge. As stated with respect to GE’s motion for judgment as a

 matter of law on legal issues (see supra Section A.), monopoly leveraging and essential facilities

 claims were supported by substantial evidence and the Court did not err in providing an instruction

 thereto.

        (2) Dr. House’s testimony

        GE also asks for a new trial because Dr. House’s damages testimony was unreliable and

 should have been excluded. Docket No. 196 at 8. GE’s arguments largely mirror its arguments in

 its Daubert challenge—namely, that Dr. House should not have relied on the first-mover literature

 and that Dr. House erred in relying on an industry publication from 2015 to calculate lost profits.




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 Id. at 8–14. These arguments were thoroughly addressed in the Court’s Daubert Order. See

 Docket No. 149.

        GE’s arguments related to refurbished machine damages, along with its challenges to Dr.

 House’s methodology with respect to the 2.72 growth factor, alleged failure to identify second and

 third movers, and alleged failure to account for other causes of the ISOs lack of growth, were not

 identified in any Rule 50(b) motion and have been waived. See Jimenez v. Wood Cnty., Tex., 660

 F.3d at 845; see also supra Section A.8.

        (3) Improper Closing Argument

        GE also moves for a new trial based on Plaintiffs’ counsel’s statement in its closing

 argument that “without damages, there won’t be any relief.” Docket No. 196 at 5. In light of the

 Court’s grant of a new trial on damages, GE’s argument is moot.

        (4) GE’s Motion for a New Trial Based on JMOL Motions

        Finally, the Court is persuaded its grant of judgment as a matter of law on the software

 update policy and disparagement claims requires a new trial. The general rule is “that ‘when a

 case is submitted to the jury on a general verdict, the failure of evidence or a legal mistake under

 one theory of the case generally requires reversal for a new trial. This is because the Court cannot

 determine whether the jury based its verdict on a sound or unsound theory.’ ” McCaig v. Wells

 Fargo Bank (Texas), N.A., 788 F.3d 463, 476 (5th Cir. 2015) (citing Muth v. Ford Motor Co., 461

 F.3d 557, 564 (5th Cir.2006)).

        The verdict form provided to the jury did not ask the jury to provide separate damages

 accountings for each theory of liability advanced at trial. See Docket No. 164. It is unclear, in

 light of the jury’s general damages verdict, whether the jury awarded damages based on Plaintiffs’

 disparagement and software update policy claims, and, as a result, the Court determines that GE

 is entitled to a new trial, at least with respect to damages. It bears noting that this possibility is


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 more likely as both theories were referred to in Plaintiffs’ opening statement, in the Court’s jury

 charge and in the verdict form. See Docket No. 170 4/18 (PM) Tr. at 24:5–7 (referring to marketing

 materials); Docket No. 161 at 6; Docket No. 164 (listing “GE marketing communications” and

 “Software notifications and update policies” for each Plaintiff); cf. Muth, 461 F.3d at 565 (finding

 that grant of judgment as a matter of law on restraint system defect “made no difference” in

 upholding a jury’s verdict when the inadequate restraint system played “little role during the trial”

 and when the jury “had no reason to think the restraint was at issue”).

        The Court is not convinced that a new trial on liability is required based on the record at

 trial but finds that it would benefit from additional briefing on this matter. The parties are

 ORDERED to each submit a brief by April 20, 2018 detailing whether they believe the new trial

 should include liability in addition to damages. Each brief shall not exceed ten (10) pages. Each

 party may file a response to the other’s brief by April 27, 2018. The responses shall not exceed

 five (5) pages.

        In light of the above, Plaintiffs’ Post-Trial Motion for Injunction, Attorneys’ Fees, and

 Entry of Judgment Upon the Jury’s Verdict (Docket No. 190) is DENIED-AS-MOOT.

                                          CONCLUSION

        As detailed above, the Court has ruled as follows:

       GE’s Renewed Motion for Judgment as a Matter of Law Regarding Market Definition,

        Monopoly Power, Parts and Training Policies (Docket No. 192) is DENIED;

       GE’s Renewed Motion for Judgment as a Matter of Law for Lack of Injury or Damages

        (Docket No. 193) is DENIED;

       GE’s Renewed Motion for Judgment as a Matter of Law as to Allegations Concerning

        Software Updates and Disparagement Theories (Docket No. 194) is GRANTED;




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         GE’s Renewed Motion for Judgment as a Matter of Law as to Plaintiffs POPN, Palo Verde,

          and SAS Acquisitions (Docket No. 195) is DENIED-IN-PART and GRANTED-IN-
  .
          PART;

         GE’s Motion in the Alternative for a New Trial on All Issues (Docket No. 196) is

          DENIED-IN-PART and GRANTED-IN-PART with the parties to submit supplemental

          briefing; and

         Plaintiffs’ Post-Trial Motion for Injunction, Attorneys’ Fees, and Entry of Judgment Upon

          the Jury’s Verdict (Docket No. 190) is DENIED-AS-MOOT.



      So ORDERED and SIGNED this 30th day of March, 2018.




                                                        ____________________________________
                                                        ROBERT W. SCHROEDER III
                                                        UNITED STATES DISTRICT JUDGE




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